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                                                                                                                                              JURY

                                                        U.S. District Court
                                             SOUTHERN DISTRICT OF ALABAMA (Mobile)
                                            CIVIL DOCKET FOR CASE #: 1:22-cv-00268-KD-M


 Ely v. Meta Platforms, Inc. et al                                                        Date Filed: 07/05/2022
 Assigned to: District Judge Kristi K. DuBose                                             Jury Demand: Plaintiff
 Referred to: Magistrate Judge Bert W. Milling, Jr                                        Nature of Suit: 365 Personal Inj. Prod. Liability
 Cause: 28:1332 Diversity-Personal Injury                                                 Jurisdiction: Diversity

 Plaintiff
 Donavette Ely                                                             represented by Clinton Richardson
 Individually, and as next friend to minor plaintiff N.G.                                 150 S. Perry St.
                                                                                          Montgomery, AL 36102
                                                                                          334-241-8000
                                                                                          Email: Clinton.Richardson@BeasleyAllen.com
                                                                                          ATTORNEY TO BE NOTICED


 V.
 Defendant
 Meta Platforms, Inc.

 Defendant
 Facebook Holdings, LLC

 Defendant
 Facebook Operations, LLC

 Defendant
 Facebook Payments, Inc.

 Defendant
 Facebook Technologies, LLC

 Defendant
 Instagram, LLC.

 Defendant
 Siculus, Inc.



  Date Filed            #   Docket Text

  07/05/2022            1   COMPLAINT against All Defendants ( Filing fee $402 receipt number AALSDC-3034652, Online Credit Card Payment),
                            filed by Donavette Ely. 90 day Rule 4m deadline set for 10/3/2022. (Attachments: # 1 Civil Cover Sheet) (Richardson,
                            Clinton) (Entered: 07/05/2022)

  07/05/2022            2   NOTICE of Filing Proposed Summons by Donavette Ely (Richardson, Clinton) (Entered: 07/05/2022)

  07/05/2022            3   Summons Issued as to Facebook Holdings, LLC, Facebook Operations, LLC, Facebook Payments, Inc., Facebook
                            Technologies, LLC, Instagram, LLC., Meta Platforms, Inc., Siculus, Inc.. Note to Counsel: The Summons have been
                            issued. Please print copies necessary for service. (meh) (Entered: 07/05/2022)

  07/06/2022            4   WAIVER OF SERVICE Returned Executed by Donavette Ely. All Defendants. (Richardson, Clinton) (Entered:
                            07/06/2022)

  07/07/2022            5   Answer due from Facebook Holdings, LLC, Facebook Operations, LLC, Facebook Payments, Inc., Facebook
                            Technologies, LLC, Instagram, LLC., Meta Platforms, Inc., Siculus, Inc. pursuant to FRCP 12(a). (meh) (Entered:
                            07/07/2022)
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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

DONAVETTE ELY, individually and as next
friend to minor plaintiff N.G.,

                            Plaintiff,
      v.                                      COMPLAINT
Meta Platforms, Inc., Facebook Holdings,      JURY TRIAL DEMANDED
LLC, Facebook Operations, LLC, Facebook
Payments, Inc., Facebook Technologies, LLC,
Instagram, LLC, & Siculus, Inc.,

                            Defendants.
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                                    I.      INTRODUCTION

       1.      Over the last two decades, more and more of our lives have moved onto social

media platforms and other digital public spaces. In this vast, still largely unregulated universe of

digital public spaces, which are privately owned and primarily run for profit, there exists tension

between what is best for technology companies’ profit margins and what is best for the individual

user (especially the predictable adolescent user) and for society. Business models are often built

around maximizing user engagement, not to ensure that users engage with the platform and one

another in safe and healthy ways. Technology companies focus on maximizing time spent, not

time well spent. In recent years, there has been growing concern about the impact of digital
technologies, particularly social media, on the mental health and wellbeing of adolescents. Many

researchers argue that social media facilitates cyberbullying, contributes to obesity and eating

disorders, instigates sleep deprivation to achieve around-the-clock platform engagement,

encourages children to negatively compare themselves to others and develop a broad

discontentment for life, and has been connected to depression, anxiety, self-harm, and ultimately

suicide ideation, suicide attempts, and completed suicide.

       2.      This matter arises from an egregious breach of the public trust by Defendant Meta

Platforms, Inc. (“Meta”). Meta was originally incorporated in Delaware on July 29, 2004, as

“TheFacebook, Inc.” On September 20, 2005, the company changed its name to “Facebook, Inc.”

On October 28, 2021, the company assumed its current designation. While Plaintiff has attempted

to identify the specific Meta subsidiary(s) that committed each of the acts alleged in this
Complaint, Plaintiff was not always able to do so, in large part due to ambiguities in Meta’s and

its subsidiaries’ own documents, public representations, and lack of public information. However,

upon information and belief, Meta oversees the operations of its various platforms and

subsidiaries, some of which have been identified and are listed below. For this reason, unless

otherwise specified, the shorthand “Meta” contemplates the apparent control that Defendant Meta

Platforms, Inc. wields over the subject social networks’ overall operations and, therefore, further
refers to its various subsidiaries and predecessors. To the extent this assumption is incorrect, the

knowledge of which Meta subsidiary, current or former, is responsible for specific conduct is

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knowledge solely within Defendants’ possession, the details of which Plaintiff should be

permitted to elucidate during the discovery phase.

       3.      Meta knowingly exploited its most vulnerable users—children throughout the

world—to drive corporate profit. Meta operates the world’s largest family of social networks,

enabling billions of users worldwide to connect, view, and share content through mobile devices,

personal computers, and virtual reality headsets. A user does not have to pay to create an account.

Instead of charging account holders to access the platform, Meta became one of the world’s most

valuable companies from the sale of advertisement placements to marketers across its various

platforms and applications. For example, upon information and belief, Meta generated $69.7

billion from advertising in 2019, more than 98% of its total revenue for the year. Meta can

generate such revenues by marketing its user base to advertisers. Meta collects and analyzes data

to assemble virtual dossiers on its users, covering hundreds if not thousands of user-specific data

segments. This data collection and analysis allows advertisers to micro-target advertising and

advertising dollars to very specific categories of users, who can be segregated into pools or lists

using Meta’s data segments. Only a fraction of these data segments come from content that is

explicitly designated by users for publication or explicitly provided by users in their account

profiles. Many of these data segments are collected by Meta through surveillance of each user’s

activity on the platform and off the platform, including behavioral surveillance that users are not

even aware of, like navigation paths, watch time, and hover time. At bottom, the larger Meta’s
user database grows, the more time the users spend on the database, and the more detailed

information that Meta can extract from its users, the more money Meta makes.

       4.      Defendants have intentionally designed their products to maximize users’ screen

time, using complex algorithms designed to exploit human psychology and driven by advanced

computer algorithms and artificial intelligence available to two of the largest technology

companies in the world. Defendants have progressively modified their products to promote

problematic and excessive use that they know threatens the actuation of addictive and self-
destructive behavioral patterns.



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       5.      Two      Meta     products,     the    www.Facebook.com           (“Facebook”)   and

www.Instagram.com (“Instagram”) websites and respective interrelated apps (collectively “Meta

2”), rank among the most popular social networking products, with more than two billion

combined users worldwide. It is estimated that nine out of ten teens use social media platforms,

with the average teen using the platforms roughly three hours per day. Given the delicate,

developing nature of the teenage brain and Meta’s creation of social media platforms designed to

be addictive, it comes as no surprise that we are now grappling with the ramifications of Meta’s

growth-at-any-cost approach, to wit, a generation of children physiologically entrapped by

products the effects of which collectively result in long-lasting adverse impact on their rapidly

evolving and notoriously precarious mental health.

       6.      As of October 2021, Facebook had roughly 2.91 billion monthly active users, thus

reaching 59% of the world’s social networking population, the only social media platform to reach

over half of all social media users. Instagram has become the most popular photo sharing social

media platform amongst teenagers and young adults in the United States, with over 57 million

users below the age of eighteen, meaning that 72 percent of America’s youth use Instagram.
       7.      A user’s “feed” on both Facebook and Instagram is comprised of an endless series

of photos, videos, text captions, and comments posted by accounts that the user follows, along

with advertising and content specifically selected and promoted by Instagram and Facebook.

       8.      Instagram also features a “discover” page where a user is shown an endless feed of

content that is selected by an algorithm designed by Instagram based upon the users’ data profile:

demographics, prior activity in the platform, and other data points. Meta has added similar features

to Facebook on the apps “menu” and “watch” sections.

       9.      Over the past decade or so, Meta has added features and promoted the use of auto-

playing short videos and temporary posts on Facebook and Instagram, with the former being

referred to as “Reels” while the latter is referred to as Instagram “Stories.”

       10.     Facebook and Instagram notify users through text and email of activity that might

be of interest, which is designed to and does prompt users to open Facebook and Instagram and be

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exposed to content selected by the platforms to maximize the length of time and amount of content

viewed by the user. Facebook and Instagram include many other harm causing features, as

discussed below.

        11.    Plaintiff brings claims of strict liability based upon Defendants’ defective design of

their social media products that renders such products not reasonably safe for ordinary consumers

in general and minors in particular. It is technologically feasible to design social media products

that substantially decrease the incidence and magnitude of harm to ordinary consumers and minors

arising from their foreseeable use of Defendants’ products with a negligible increase in production

cost.

        12.    Plaintiff also brings claims for strict liability based on Defendants’ failure to

provide adequate warnings to minor users and their parents of the danger of mental, physical, and

emotional harms arising from the foreseeable use of their social media products.

        13.    Plaintiff also brings claims for common law negligence arising from Defendants’

unreasonably dangerous social media products and their failure to warn of such dangers.

Defendants knew or, in the exercise of ordinary care, should have known that their social media

products were harmful to a significant percentage of their minor users and failed to re-design their

products to ameliorate these harms or warn minor users and their parents of dangers arising out of

the foreseeable use of their products. Defendants intentionally created an attractive nuisance to

children, but simultaneously failed to provide adequate safeguards from the harmful effects they

knew were occurring.

        14.    The addictive qualities of Defendants’ products and their harmful algorithms are

not fully known or appreciated by minor users or their parents. Like others, Plaintiff only recently

learned the truth about Meta’s increasingly detrimental effect on teenagers when Frances Haugen,

a former Facebook employee turned whistleblower, came forward with internal documents

showing that Meta was aware that its platforms and products cause significant harm to its users,

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especially children. Rather than making meaningful changes to safeguard the health and safety of

its adolescent users, Meta has consistently chosen to prioritize profit over safety by continuing to

implement and require its users to submit to product components that increase the frequency and

duration of users’ engagement, resulting in the pernicious harms described in greater detail below.

                             II.     JURISDICTION AND VENUE

        15.     This Court has subject-matter jurisdiction over this case under 28 U.S.C. § 1332(a)

because the amount in controversy exceeds $75,000 and Plaintiff and Defendants are residents of

different states.

        16.     This Court has specific personal jurisdiction over Defendants Facebook and

Instagram because these Defendants transact business in the State of Alabama and purposely avail

themselves of the benefits of transacting business with Alabama residents. Plaintiff’s claims set

forth herein arise out of and/or relate to Defendants’ activities in the State of Alabama and

purposeful availment of the benefits of transacting business here and the exercise of personal

jurisdiction by this Court comports with traditional notions of fair play and substantial justice.

        17.     Defendants interface with a significant percentage of the population of the State of

Alabama relating to use of the products at issue in this case, and interact extensively with—send

messages, notifications, and communications to—and provide a myriad of other interactive

services and recommendations to users Defendants expect and know to be in the State of Alabama.

        18.     Defendants advertise extensively in Alabama, through contractual relationships

with third-party “partners” who advertise on their behalf via electronic and internet-based

platforms and devices. Meta also has agreements with cell phone manufacturers and/or providers

and/or retailers, who often pre-install its products on mobile devices prior to sale and without

regard to the age of the intended user of each such device. That is, even though Defendants are

prohibited from providing their products to users under the age of 13, by encouraging and allowing



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its product to be installed indiscriminately on mobile devices, it actively promotes and provides

access to its product to the underage users in Alabama for whom those devices are intended.

       19.     Defendants have earned millions of dollars in annual revenue from their Alabama-

related activities over the last several years arising from the use of their defective and inherently

dangerous social media products by Alabama residents, including Plaintiff.

       20.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to Plaintiff’s claims occurred in the Southern District of

Alabama.

                                         III.    PARTIES

Plaintiff

       21.     Plaintiff Donavette Ely is an individual residing in Mobile, Alabama, and the

custodial parent of her eighteen-year-old daughter N.G. Plaintiff brings this suit on behalf of

herself and on behalf of N.G., pursuant to FED. R. CIV. P. 17.

Defendant Meta Platforms, Inc.

       22.     Meta is a Delaware corporation and multinational technology conglomerate,

having its principal place of business in Menlo Park, California.

       23.     Meta develops and maintains social media platforms, communication platforms,

and electronic devices. These platforms and products include Facebook (its self-titled app,
Messenger, Messenger Kids, Marketplace, Workplace, etc.), Instagram (and its self-titled app),

and a line of electronic virtual reality devices called Oculus Quest (soon to be renamed “Meta

Quest”). Meta’s subsidiaries include, but may not be limited to: Facebook Holdings, LLC

(Delaware); Facebook Operations, LLC (Delaware); Facebook Payments Inc. (Delaware);

Facebook Technologies, LLC (Delaware); FCL Tech Limited (Ireland); Instagram, LLC

(Delaware); Novi Financial, Inc. (Delaware); Runways Information Services Limited (Ireland);
Scout Development LLC (Delaware); Siculus, Inc. (Delaware); and a dozen other entities whose

identity or relevance is presently unclear.

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Subsidiary Defendants

       24.     Facebook Holdings, LLC (“Facebook 1”) was incorporated in Delaware on March

11, 2020, and is a wholly owned subsidiary of Meta Platforms, Inc. Facebook 1 is primarily a

holding company for entities involved in Meta’s supporting and international endeavors, and its

principal place of business is in Menlo Park, California.

       25.     Facebook Operations, LLC (“Facebook 2”) was incorporated in Delaware on

January 8, 2012, and is a wholly owned subsidiary of Meta Platforms, Inc. Facebook 2 is likely a

managing entity for Meta’s other subsidiaries, and its principal place of business is in Menlo Park,

California.

       26.     Facebook Payments, Inc. (“Facebook 3”) was incorporated in Florida on December

10, 2010, and is a wholly owned subsidiary of Meta Platforms, Inc. Facebook 3 manages, secures,

and processes payments made through Meta, among other activities, and its principal place of

business is in Menlo Park, California.

       27.     Facebook Technologies, LLC (“Facebook 4”) was incorporated in Delaware as

“Oculus VR, LLC” on March 21, 2014, and acquired by Meta on March 25, 2014. Facebook 4’s

principal place of business is in Menlo Park, California, and it develops Meta’s virtual and

augmented reality technology, such as the Oculus Quest line of products (soon to be renamed

“Meta Quest”), among other technologies related to Meta’s various platforms.

       28.     Instagram, LLC (“Instagram”) was founded by Kevin Systrom and Mike Krieger

in October 2010. In April 2021, Meta purchased the company for $1 billion (later statements from

Meta have indicated the purchase price was closer to $2 billion). Meta reincorporated the company

on April 7, 2012, in Delaware. Currently, the company’s principal place of business is in in Menlo

Park, CA. Instagram is a social media platform tailored for photo and video sharing.




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       29.     Siculus, Inc., (“Siculus”) was incorporated in Delaware on October 19, 2011, and

is a wholly owned subsidiary of Meta. Siculus supports Meta platforms by constructing data

facilities and other projects. Siculus’s principal place of business is in Menlo Park, CA.

                       IV.     GENERAL FACTUAL ALLEGATIONS

A.     Teenagers Are Particularly Vulnerable to the Perils of Excessive Social Media Use.

       30.     Emerging research shows that the human brain is still developing during

adolescence in ways consistent with adolescents’ demonstrated psychosocial immaturity.

Specifically, adolescents’ brains are not yet fully developed in regions related to risk evaluation,

emotion regulation, and impulse control. The frontal lobes—and, in particular, the prefrontal

cortex—of the brain play an essential part in higher-order cognitive functions, impulse control,

and executive decision-making. These regions of the brain are central to the process of planning

and decision-making, including the evaluation of future consequences and the weighing of risk

and reward. They are also essential to the ability to control emotions and inhibit impulses. MRI

studies have shown that the prefrontal cortex is one of the last regions of the brain to mature.

During childhood and adolescence, the brain is maturing in at least two major ways. First, the brain

undergoes myelination, the process through which the neural pathways connecting different parts

of the brain become insulated with white fatty tissue called myelin. Second, during childhood and

adolescence, the brain is undergoing “pruning”—the paring away of unused synapses, leading to

more efficient neural connections. Through myelination and pruning, the brain’s frontal lobes

change to help the brain work faster and more efficiently, improving the “executive” functions of

the frontal lobes, including impulse control and risk evaluation. This shift in the brain’s

composition continues throughout adolescence and into young adulthood. In late adolescence,

important aspects of brain maturation remain incomplete, particularly those involving the brain’s

executive functions and the coordinated activity of regions involved in emotion and cognition. As

such, the part of the brain that is critical for control of impulses and emotions and mature,

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considered decision-making is still developing during adolescence, consistent with the

demonstrated behavioral and psychosocial immaturity of juveniles.

         31.   Because adolescence is the period when sophisticated, essential inhibitory control

functions are being established, the onset of prolonged exposure to toxic content during

adolescence is particularly concerning. The extended development of the prefrontal cortex results

in an adolescent brain that is largely undeveloped, highly malleable, and overwhelmingly

vulnerable to long-term, irremediable effects of adverse influences, including addiction and a

fractured psychological well-being.

         32.   The algorithms in Defendants’ social media products exploit minor users’

diminished decision-making capacity, impulse control, emotional maturity, and psychological

resiliency caused by users’ incomplete brain development. Defendants know, or in the exercise of

reasonable care should know, that because their minor users’ frontal lobes are not fully developed,

such users are much more likely to sustain serious physical and psychological harm through their

social media use than adult users. Nevertheless, Defendants have failed to design their products

with any protections to account for and ameliorate the psychosocial immaturity of their minor

users.

         33.   Adolescents see themselves as increasingly unique. Paradoxically, as part of their

individuation, they conform by faithfully mimicking the behavior of peers. Indeed, in defining

their own emerging identity, adolescents aspire to be viewed as mature adults, and this leads them

to affiliate with and emulate the personalities, images, behaviors, and preferences of those that

they would like to become. During the teenage years, relationships with family members often

take a back seat to peer groups and appearance. Teens crave to identify with their peer group,

achieve social approval, and become “popular.” Many teens feel deep insecurity and are self‐

conscious. They feel people are constantly focused on them, examining them, and judging them

about everything they say and do. They struggle with the inexorable desire to be accepted and

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admired by their teen peers, and their biggest fear is to not fit in. This myopic desire to fit in

predispositions teenagers to frequently engage in upward social comparison processes, that is,

identifying and observing others that appear to be experiencing more positive outcomes, and

consequently feeling worse about themselves and their own perceived shortcomings.

           34.     Today’s adolescents are part of Generation Z (which is loosely defined as people

born between 1997 and 2012)—they are the first generation of consumers to have grown up in an

entirely post‐digital era, and thus are “digitally native.” The oldest members of this demographic

cohort are just turning 24 this year; however, the substantial majority are believed to be still going

through adolescence. Members of Generation Z spend upwards of 3 hours per day on the internet,

and another 3 hours per day using social media. According to a 2018 survey by Pew Research

Center, 45 percent of high school students said they used a social-media platform daily, and 24

percent said that they were online “almost constantly.”1

           35.     One way that Meta’s platforms addict minors is as follows: When minors use design

features such as “likes” it causes their brains to release euphoria-causing dopamine. However, as

soon as dopamine is released, their euphoria is countered by dejection: minor users’ brains adapt

by reducing or “downregulating” the number of dopamine receptors that are stimulated. In

normal stimulatory environments, neutrality is restored after this dejection abates. However,

Defendants’ algorithms are designed to exploit users’ natural tendency to counteract dejection by

going back to the source of pleasure for another dose of euphoria.

           36.     Eventually, as this pattern continues over a period of days, weeks, and months, the

neurological baseline to trigger minor users’ dopamine responses increases. Minors then continue

to use Facebook and Instagram, not for enjoyment, but simply to feel normal. When minor users




1
    Monica Anderson and JingJing Jiang, Teens, Social Media and Technology (February 3, 2022, last visited at 11:20
    AM CST) https://www.pewresearch.org/internet/2018/05/31/teens-social-media-technology-2018/.

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attempt to stop using Defendants’ social media products, they experience the universal symptoms

of withdrawal from any addictive substance including anxiety, irritability, insomnia, and craving.

       37.     Addictive use of social media by minors is psychologically and neurologically

analogous to addiction to internet gaming disorder. Gaming addiction is a recognized in the

American Psychiatric Association's 2013 Diagnostic and Statistical Manual of Mental Disorders

(DSM-5) (used by mental health professionals to diagnose mental disorders) and is a recognized

mental health disorder by the World Health Organization and International Classification of

Diseases. The diagnostic symptoms of social media addiction among minors are the same as the

symptoms of addictive gaming promulgated in DSM 5 and include:

               a.     Preoccupation with social media and withdrawal symptoms (sadness,

                      anxiety, irritability) when device is taken away or use is not possible

                      (sadness, anxiety, irritability).

               b.     Tolerance, the need to spend more time using social media to satisfy the

                      urge.

               c.     Inability to reduce social media usages, unsuccessful attempts to quit

                      gaming.

               d.     Giving up other activities, loss of interest in previously enjoyed activities

                      due to social media usage.

               e.     Continuing to use social media despite problems.

               f.     Deceiving family members or others about the amount of time spent on

                      social media.

               g.     The use of social media to relieve negative moods, such as guilt or

                      hopelessness; and

               h.     Jeopardizing school or work performance or relationships due to social

                      media usage.

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        38.     Defendants’ advertising profits are directly tied to the amount of time that its users

spend online. Thus, Defendants enhance advertising revenue by maximizing users’ time online

through a product design that addicts them to the platform, in part by directing them to content that

is progressively more stimulating. However, reasonable minor users and their parents do not expect

that online social media platforms are psychologically and neurologically addictive.

        39.     Defendants’ products could feasibly report the frequency and duration of their

minor users’ screen time to their parents at negligible cost. This would enable parents to track the

frequency, time, and duration of their minor child’s social media, identify and address problems

arising from such use, and better exercise their rights and responsibilities as parents.

        40.     Social comparisons on social media are frequent and are especially likely to be

upward, as social media provides a continuous stream of information about other people’s

accomplishments.2 Past research suggests that social comparisons occur automatically; when

individuals encounter information about another person, their own self-perceptions will be

affected. The sheer number of posts in a News Feed, each offering a thumbnail sketch of each

person’s carefully curated and predominantly ostentatious content, yields numerous opportunities

for social comparison. Although people do not typically post false information about themselves

online, they do engage in selective self-presentation and are more likely to post eye-catching

content. As a result, individuals browsing their News Feeds are more likely to see posts about

friends’ exciting social activities rather than dull days at the office, affording numerous

opportunities for comparisons to seemingly better-off others. Individuals with vacillating levels of

self-esteem and certitude, characteristics notoriously endemic to the teenage cohort, are

particularly oriented to making frequent and extreme upward social comparisons on social media,



2
  Jin Kyun Lee, The Effects of Social Comparison Orientation on Psychological Well-Being in Social Networking
Sites:      Serial     Mediation      of    Perceived    Social     Support   and      Self-Esteem     (2020),
https://link.springer.com/content/pdf/10.1007/s12144-020-01114-3.pdf

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which in turn threatens their mental health. Social-media-induced social comparison often results

in a discrepancy between the ideal self and the real self, thus evoking a sense of depression,

deprivation, and distress, resulting in an overall aggravation of one’s mental state.3 Since the early

2000s, studies have shown that frequent upward social comparison results in lower self-esteem

and reduced overall mental health.4 It has also long been known that individuals who are more

likely to engage in self-comparison are likewise more likely to have negative outcomes when using

social media. To cope with wavering self-esteem, digitally native adolescents often become

envious of others and resort to cyberbullying to deconstruct the point of comparison’s perceived

superiority and preserve an increasingly delicate ego. These natural dynamics in youth are

exacerbated to psychologically injurious levels by Meta’s platforms’ progressively toxic

environment worsened by its 2018 shift to engagement-based ranking, which is discussed in

further detail below.

           41.      The dangers associated with teenager’s proclivity to engage in protracted upward

social comparison while on social media is compounded by Meta’s deft and discreet construction

of an atmosphere capable of exploiting the impulse control issues of even the most mature adults,

thereby unleashing upon the public a product that is predictably highly addictive. Some of Meta’s

key features that make the platforms highly addictive include the use of intermittent variable

rewards (“IVR”) and its Facial Recognition System (“FRS”).

           42.      IVR is a method used to addict a user to an activity by spacing out dopamine

triggering stimuli with dopamine gaps—a method that allows for anticipation and craving to



3
    This schism between the ideal self and the real self, and the attendant dissatisfaction with reality, is further
    exacerbated by Meta’s use of physical-augmentation technology, which allows users to utilize photo and video filters
    to make remove blemishes, make the face appear thinner, and lighten the skin-tone, all to make themselves appear
    more “attractive.”
4
 Claire Midgley, When Every Day is a High School Reunion: Social Media Comparisons and Self-Esteem (2020),
https://www.researchgate.net/publication/342490065_When_Every_Day_is_a_High_School_Reunion_Social_Medi
a_Comparisons_and_Self-Esteem

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develop and strengthens the addiction with each payout. The easiest way to understand this term

is by imagining a slot machine. You pull the lever (intermittent action) with the hope of winning

a prize (variable reward). In the same way, you refresh Meta’s feeds, endure the brief delay, and

then learn if anyone has tagged you in a photo, mentioned you in a post, sent you a message, or

liked, commented on, or shared either of your posts. As explained below, Meta spaces out

notifications of likes and comments into multiple bursts (dopamine gaps), rather than notifying

users in real time, to maximize the platforms’ addictiveness.

           43.      Engineered to meet the evolving demands of the “attention economy,”5 a term used

to describe the supply and demand of a person’s attention, which is a highly valuable commodity

for internet websites, in February 2009, Meta introduced perhaps its most conspicuous form of

IVR: its “Like” button; Instagram launched that same year and came ready-made with a like

function shaped as a heart. Additional features of Meta’s IVR include its delay-burst notification

system, comments, posts, shares, and other dopamine-triggering content. Instagram’s notification

algorithm delays notifications to deliver them in spaced-out, larger bursts. Facebook likely uses a

similar feature. These designs take advantage of users’ dopamine-driven desire for social

validation and optimizes the balance of negative and positive feedback signals to addict users.

           44.      Other psychological manipulations used to intertwine social media users include,

but are not limited to: (1) the FRS system, which has already collected for distribution to various

third-parties a billion individual facial recognition templates and is otherwise used by Meta to

identify and tag people in photos; (2) Meta’s use of wavy dots to reflect that someone is currently

writing you a message, which is designed to keep you on the platform until you receive the message

or shorten the time for you to return and check for a message; and (3) the concept of social

reciprocity, a variance of quid pro quo, pursuant to which Meta alerts you when someone has read


5
    The business model is simple: The more attention a platform can pull from its users, the more effective its advertising
    space becomes, allowing it to charge advertisers more.
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your message, which encourages the receivers to respond—because the sender knows the message

has been read—and simultaneously prompts the sender to return to check for the seemingly

inevitable response. In sum, this perilous amalgamation of intense psychological vulnerability and

targeted exploitation foreseeably results in an increased risk of a variety of harms for today’s youth,

including, but not limited to, social media addiction, withdrawal—from friends, family, and social

and academic advancement—lack of focus, anxiety, body dysmorphia, eating disorders, death

resulting from eating disorders, depression, difficulty sleeping, fatigue, headaches, migraines, loss

of vision, eye strain, self-harm, and suicide among other harms.

B.     Meta Knowingly Exploits Teenage Vulnerabilities for Unjust Gain.

       45.     Enacted in 1998 and finalized by a U.S. Federal Trade Commission rulemaking in

2000, the Children’s Online Privacy Protection Act, or “COPPA,” regulates the conditions under

which commercial web sites that either target children under age 13 or have actual knowledge of

children under age 13 using their site can collect and use information about them. As a result of

COPPA, website operators must obtain “verifiable parental consent” from parents prior to the

collection and use of information about children under age 13. Meta has chosen to avoid these

obligations by purporting to ban all those younger than 13 through its terms of service.

       46.     Meta states that children under the age of thirteen are prohibited from having Meta

accounts, but Meta knowingly lacks effective age-verification protocols. Since at least 2011, Meta

has known that its age-verification protocols are largely inadequate, then estimating that it removes

20,000 children under age 13 from Facebook every day. The problem has not been remediated, as

Meta removed at least six hundred thousand underage users in 2021. Zuckerberg himself has stated

that, notwithstanding the spirit of COPPA, younger children should be allowed to get on Facebook.

       47.     Defendants do not charge their users to use their platforms, but instead receive

money from advertisers who pay a premium to target advertisements to specific categories of

people as studied and sorted by Meta’s algorithms. Thus, Defendants generate revenue based upon

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the total time spent on the application, which directly correlates with the number of advertisements

that can be shown to each user.

       48.     Meta, as originally conceived, ostensibly functioned like an enormous virtual

bulletin board, where content was published by authors. But Meta has evolved over time with the

addition of numerous features and products designed by Meta to engage users. The earliest of

these—the search function and the “like” button—were primarily user-controlled features. In more

recent years, however, Meta has taken a more active role in shaping the user-experience on the

platform with more complex features and products. The most visible of these are curated

recommendations, which are pushed to each user in a steady stream as the user navigates the

website, and in notifications sent to the user’s smartphone and email addresses when the user is

disengaged with the platform. These proprietary Meta products include News Feed (a newsfeed of

stories and posts published on the platform, some of which are posted by your connections, and

others that are suggested for you by Meta), People You May Know (introductions to persons with

common connections or background), Suggested for You, Groups You Should Join, and Discover

(recommendations for Meta groups to join). These curated and bundled recommendations are

developed through sophisticated algorithms. As distinguished from the earliest search functions

that were used to navigate websites during the Internet’s infancy, Meta’s algorithms are not based

exclusively on user requests or even user inputs. Meta’s algorithms combine the user’s profile

(e.g., the information posted by the user on the platform) and the user’s dossier (the data collected

and synthesized by Meta to which Meta assigns categorical designations), make assumptions about

that user’s interests and preferences, make predictions about what else might appeal to the user,

and then make very specific recommendations of posts and pages to view and groups to visit and

join based on rankings that will optimize Meta’s key performance indicators.

       49.       Equipped with ample information about the risks of social media, the

ineffectiveness of its age-verification protocols, and the mental processes of teens, Meta has

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expended significant effort to attract preteens to its products, including substantial investments in

designing products that would appeal to children ages 10-to-12. Meta views pre-teens as a

valuable, unharnessed commodity, so valuable that it has contemplated whether there is a way to

engage children during play dates.6 Meta’s unabashed willingness to target children, in the face of

its conscious, long-standing, plainly deficient age-verification protocols demonstrates the depths

to which Meta is willing to reach to maintain and increase its profit margin.

        50.      Faced with the potential for reduction in value due to its declining number of users,

in or around early 2018, Meta (and likely Meta 2) revamped its interface to transition away from

chronological ranking, which organized the interface according to when content was posted or

sent, to prioritize Meaningful Social Interactions, or “MSI,” which emphasizes users’ connections’

interactions, e.g., likes and comments, and gives greater significance to the interactions of

connections that appeared to be the closest to users. To effectuate this objective, Facebook

developed and employed an “amplification algorithm” to execute engagement-based ranking,

which considers a post’s likes, shares, and comments, as well as a respective user’s past

interactions with similar content, and exhibits the post in the user’s newsfeed if it otherwise meets

certain benchmarks. The algorithm covertly operates on the proposition that intense reactions

invariably compel attention. As it measures reactions and contemporaneously immerses users in

the most reactive content, and negative content routinely elicits passionate reactions, the algorithm

effectively works to steer users toward the most negative content.

        51.      Meta CEO Zuckerberg publicly recognized this in a 2018 post, in which he

demonstrated the correlation between engagement and sensational content that is so extreme that

it impinges upon Meta’s own ethical limits, with the following chart:7


6
 Georgia Wells and Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram Kids, Documents
Show (2021), https://www.wsj.com/articles/facebook-instagram-kids-tweens-attract-11632849667

7
     Mark Zuckerberg, A Blueprint for Content Governance and                      Enforcement,   FACEBOOK,
https://www.facebook.com/notes/751449002072082/ (last visited January 8, 2022).
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       52.     The algorithm controls what appears in each user’s News Feed and promotes

content that is objectionable and harmful to many users. In one internal report, Meta concluded

that “[o]ur approach has had unhealthy side effects on important slices of public content, such as

politics and news,” with one data scientist noting that “[t]his is an increasing liability.” In other

internal memos, Meta concluded that because of the new algorithm, “[m]isinformation, toxicity,

and violent content are inordinately prevalent.” Other documents show that Meta employees also

discussed Meta’s motive for changing its algorithm—namely, that users began to interact less with

the platform, which became a worrisome trend for Meta’s bottom line. Meta found that the

inflammatory content that the new algorithm was feeding to users fueled their return to the

platform and led to more engagement, which, in turn, helped Meta sell more of the digital ads that

generate most of its revenue. All told, Meta’s algorithm optimizes for angry, divisive, and

polarizing content because it’ll increase its number of users and the time users stay on the platform

per viewing session, which thereby increases its appeal to advertisers, thereby increasing its overall

value and profitability.

       53.     Upon information in belief, at least as far back as 2019, Meta initiated, inter alia, a

Proactive Incident Response experiment, which began researching the effect of Meta on the mental




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health of today’s youth.8 Meta’s own in-depth analyses show significant mental-health issues

stemming from the use of Instagram among teenage girls, many of whom linked suicidal thoughts

and eating disorders to their experiences on the app.9 Meta’s researchers have repeatedly found

that Instagram is harmful for a sizable percentage of teens that use the platform. In an internal

presentation from 2019, Meta researchers concluded that “[w]e make body issues worse for one in

three teen girls,” and “[t]eens blame Instagram for increases in the rate of anxiety and depression.”

Similarly, in a March 2020 presentation posted to Meta’s internal message board, researchers

found that “[t]hirty-two percent of teen girls said that when they feel bad about their bodies,

Instagram made them feel worse.” Sixty-six percent of teen girls and forty-six percent of teen boys

have experienced negative social comparisons on Instagram. Thirteen-and-one-half percent of

teen-girl Instagram users say the platform makes thoughts of “suicide and self-injury” worse.

Seventeen percent of teen-girl Instagram users say the platform makes “[e]ating issues” worse.

Instagram users are twice as likely to develop an eating disorder as those who don’t use social

media.

          54.      Meta is aware that teens often lack the ability to self-regulate. Meta is further aware

that, despite the platforms’ adverse impact to teenage users’ well-being, the absence of impulse

control often renders teens powerless to oppose the platforms’ allure. Meta is conscious of the fact

that the platform dramatically exacerbates bullying and other difficulties prevalent within the high

school experience, as the reach of the same now affects users within the ideally otherwise safe

confines of the home. The advent of social media largely occurred after today’s parents became

adults, the consequence being a large swath of parents that lack the context needed to appreciate



8
   See Protecting Kids Online: Testimony from a Facebook Whistleblower, United States Senate Committee on
Commerce, Science, & Transportation, Sub-Committee on Consumer Protection, Product Safety, and Data Security,
https://www.c-span.org/video/?515042-1/whistleblower-frances-haugen-calls-congress-regulate-facebook

9
     See Wall Street Journal Staff, The Facebook Files (2021), https://www.wsj.com/articles/the-facebook-files-
    11631713039?mod=bigtop-breadcrumb
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the contemporary perils of Meta and Instagram, who are likewise ill-equipped to offer advice

sufficient to effectively mitigate against it.

        55.     The shift from chronological ranking to the algorithm modified the social

networking environment in such a way that it created a new iteration of the Meta experience, one

that is profoundly more negative, one that exploits some of the known psychological

vulnerabilities of Facebook’s most susceptible patronage, to wit, juveniles, resulting in a markedly

enlarged threat to the cohort’s mental health and the related frequency of suicidal ideation.

        56.     Excessive screen time is harmful to adolescents’ mental health, sleep patterns,

emotional well-being. Defendants’ products lack any warnings that foreseeable product use can

disrupt healthy sleep patterns, or specific warnings to parents when their child’s product usage

exceeds healthy levels or occurs during sleep hours, rendering the platforms unreasonably

dangerous. Reasonable and responsible parents are not able to accurately monitor their child’s

screen time because most adolescents own or can obtain access to mobile devices and engage in

social media use outside their parents’ presence.

        57.     Meta professes to have implemented protective measures to counteract the well-

established dangers of its sites’ customized, doggedly harmful content; however, its protocols

apply only to content conveyed in English and removes only three-to-five percent of harmful

content. Meta knows its quality-control and age-verification protocols are woefully ineffective,

but Meta is either unwilling or incapable of properly managing its platforms. This is consistent

with its established pattern of recognizing, and subsequently ignoring, the needs of its underage

users and its obligation to create a suitable environment accessible only by its age-appropriate

users, all in the interest of reaping obscene profit.




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C.     Plaintiff Expressly Disclaims Any and All Claims Seeking to Hold Defendants Liable
       as the Publisher or Speaker of Any Content Provided, Posted, or Created by Third
       Parties.

       58.     Plaintiff seeks to hold Defendants accountable for their own alleged acts and

omissions. Plaintiff’s claims arise from Defendants’ status as the designer and marketer of

dangerously defective social media products, not as the speaker or publisher of third-party content.

       59.     Plaintiff alleges that Defendants failed to warn minor users and their parents of

known dangers arising from anticipated use of their social media platforms. None of Plaintiff’s

claims rely on treating Defendants as the publisher or speaker of any third-party’s words.

Plaintiff’s claims seek to hold Defendants accountable for their own allegedly wrongful acts and

omissions, not for the speech of others or for any attempts by Defendants to restrict access to

objectionable content.

       60.     Plaintiff is not alleging that Defendant is liable for what third-parties have said, but

for what Defendants did or did not do.

       61.     None of Plaintiff’s claims for relief set forth herein require treating Defendants as

a speaker or publisher of content posted by third parties. Rather, Plaintiff seeks to hold Defendants

liable for their own speech and their own silence in failing to warn of foreseeable dangers arising

from the anticipated use of their products. Defendants could manifestly fulfill their legal duty to

design reasonably safe products and furnish adequate warnings of foreseeable dangers arising out

of their products, without altering, deleting, or modifying the content of a single third-party post

or communication.

                         V.    PLAINTIFF-SPECIFIC ALLEGATIONS

       62.     Plaintiff N.G. is a eighteen-year-old girl who has been a heavy user of the Meta

platform(s).




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       63.        Shortly after registering to use the Meta platform(s), Plaintiff began engaging in

addictive and problematic use of the platform(s). N.G.’s interest in any activity other than viewing

and posting on the Meta platform(s) progressively declined.

       64.        Prompted by the addictive design of Defendants’ product(s), and the constant

notifications that Defendants’ platform(s) pushed to N.G. 24 hours a day, N.G. began getting less

and less sleep.

       65.        As a proximate result of her addiction to the Meta platform(s), and specifically due

to recommendations and content Defendants selected and showed to N.G., a minor user of the

Meta platform(s), N.G. subsequently developed injuries including, but not limited to, attempted

suicide, multiple periods of suicidal ideation, depression, anxiety, an eating disorder, social media

compulsion, and a reduced inclination or ability to sleep.

       66.        Defendants have designed the Meta platform(s), including through the use of

disappearing or time-sensitive messaging features, to frustrate parents like Donavette Ely from

exercising their rights and duties as parents to monitor and limit their children’s use of the Meta

platform(s).

       67.        Defendants have designed the Meta platforms(s) to allow minors to use, become

addicted to, and abuse their products without the consent of the users’ parents, like Donavette Ely.

       68.        Defendants have specifically designed the Meta platform(s) to be attractive

nuisances to underage users but failed to exercise the ordinary care owed to underage business

invitees to prevent the rampant, foreseeable, and deleterious impact on minor users that access the

Meta platform(s).

       69.        Neither Donavette Ely nor N.G. were aware of the addictive and mentally harmful

effects of the Meta platform(s) when N.G. began to use the products.

       70.        Defendants not only failed to warn N.G. and Donavette Ely of the dangers of

addiction, sleep deprivation, and problematic use of the Meta platform(s), but misrepresented the

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safety, utility, and non-addictive properties of their products. For example, the head of Instagram

testified under oath at a December 8, 2021, Senate Committee hearing that Instagram does not

addict its users.

        71.     As a result of N.G.’s extensive and problematic use of the Meta platform(s), she

has developed numerous mental health conditions that she still struggles with until this day.

                                   VI.     CAUSES OF ACTION

                        FIRST CAUSE OF ACTION
          ALABAMA EXTENDED MANUFACTURERS LIABILITY DOCTRINE


        72.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

        73.     Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

        74.     At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the

products and platforms that Plaintiff used, which are defective and unreasonably dangerous.

        75.     Facebook and Instagram were designed and intended to be used as social media

platforms.

        76.     Facebook and Instagram are defective in their design in that they are not reasonably

fit, suitable or safe for their intended purpose, especially as related to adolescent users, and/or their

foreseeable risks exceed the benefits associated with their design.

        77.     The defective condition of Facebook and Instagram rendered it unreasonably

dangerous and/or not reasonably safe, and Facebook and Instagram were in this defective condition

when they were released to the public.

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       78.     Facebook and Instagram as designed were unreasonably dangerous, posed a

substantial likelihood of harm, and were therefore defective because of reasons enumerated in the

complaint, including, but not limited to, risks of social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other

harmful effects.

       79.     Facebook and Instagram were expected to and did reach Plaintiff without

substantial change in the condition in which they were signed, manufactured, labeled, marketed,

promoted, supplied, and otherwise released into the stream of commerce.

       80.     The Facebook and Instagram products were used for their intended purposes, and

the products were not materially altered or modified prior to their use.

       81.     DEFENDANTS defectively designed the platforms to specifically appeal to and

addict minors and young adults, who were particularly unable to appreciate the risks posed by the

platforms, and particularly susceptible to harms from those products.

       82.     DEFENDANTS effectively designed the platforms to be addictive and take

advantage of the chemical reward system of users’ brains (especially young users) to create

addiction and additional mental and physical health harms.

       83.     DEFENDANTS defectively designed platforms (Facebook and Instagram) that are

inherently dangerous because they included features making the product addictive and likely to

cause the mental and physical health harms listed above. These features include, but are not limited

to: (1) engagement-based ranking (sorting content on a user’s feed based on engagement or

“meaningful social interactions” rather than chronology); (2) intermittent variable rewards (a

system of “likes”, comments, strategically-timed notifications, promoting the content of new users

and users who have not posted in a while, among other features); (3) face tracking and

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augmentation (i.e., photo and video filters designed to make users appear more attractive); (4)

endless scrollable content (especially auto-playing video content such as the Instagram “Reels”

content feed); (5) the interaction of these features; and (6) other features of the platform which are

currently unknown and hidden from users and governments.

        84.     DEFENDANTS defectively designed the platforms and DEFENDANTS failed to

test as to the safety of features they developed and implemented for use in the platforms. Once

DEFENDANTS did perform some product testing and had knowledge of ongoing harm to

Plaintiff, they failed to adequately remedy the product defects or warn Plaintiff.

        85.     Facebook and Instagram do not perform as safely as a reasonable and ordinary

consumer would reasonably assume and reasonably expect. Facebook and Instagram pose a risk

of serious mental and physical health injuries as listed above.

        86.     The risks inherent in the design of Facebook and Instagram significantly outweigh

any benefits of such design.

        87.     DEFENDANTS could have utilized cost effective, reasonably feasible alternative

designs to minimize these harms, such as by designing products without the harm causing features

listed above, that were less addictive, less likely to cause mental health harms, while still providing

an optimal social media experience and facilitating social connection.

        88.     DEFENDANTS could have limited the duration of login sessions to prevent

harmful, extended use of the platforms and could have designed the platforms to logout for a period

of time if excessive use occurred. It is well established in research that to effectively stay connected

socially, a person only needs a limited amount of use time. Instead, DEFENDANTS designed a

product that uses behavioral engineering to maximize the number of use sessions and length of use

per session, resulting in serious harm to Plaintiff.




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       89.     DEFENDANTS could have used technology to enable user-level access restrictions

so that use was tied to a user’s age verification, restricting those underaged from using the

platforms, or other youth protecting features.

       90.     DEFENDANTS could have utilized cost effective, reasonably feasible alternative

designs to minimize these harms, including, but not limited to:

               a.      Designing platforms that did not include the features listed above while

                       still fulfilling the social, interest, and business networking purposes of a

                       social media platform;

               b.      Default protective limits to length of use, frequency of use, or content

                       types;

               c.      Opt-in restrictions to length of use, frequency of use, or content types;

               d.      Session time limits;

               e.      Blocks to use during certain times of day (such as morning, during work

                       or school periods, or during evenings);

               f.      Session time notifications, warnings, or reports;

               g.      Warning of health effects of use and extended use upon sign-up;

               h.      Parental controls;

               i.      Notification to parents regarding their child’s extensive use, use during
                       sleep hours, or exposure to harmful content on the platform,

               j.      Self-limiting tools;

               k.      Implementing labels on images and videos that have been edited through

                       the platform;

               l.      Age-based content filtering;

               m.      General content filtering;

               n.      Algorithmic (whether default or opt-in) reductions or elimination in a

                       user’s feed of potentially harmful content (e.g., content that causes
                       negative social comparison and misleading lack of realism) such as in the


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                        genres of lifestyle, influencer, beauty, fitness, success flaunting, and/or

                        heavily edited images and videos;

                o.      Algorithmic (whether default or opt-in) reductions or elimination in a

                        user’s feed of potentially harmful content, such as inappropriate or

                        salacious content;

                p.      Algorithmic (whether default or opt-in) reductions or elimination in a

                        user’s feed of potentially harmful content such as controversial, political,

                        or emotionally weighted content;

                q.      Algorithmic (whether default or opt-in) reductions or elimination in a

                        user’s feed of potentially harmful content such as content encouraging or

                        promoting eating disorders, depressive thinking, self-harm, or suicide;

                r.      Informational labelling about the misleading and unrealistic nature of the

                        content on a user’s feed and the resulting feed composite because of

                        content editing and algorithmic recommendation, presentation, and

                        sorting;

                s.      Chronological presentation of content rather than algorithmic; and

                t.     Many other less harmful alternatives.
        91.     Instead, DEFENDANTS designed platforms that aggressively addict users with

algorithms and features that increase addictiveness, use time, frequency of use, attention stealing,

engagement with the platform, mental health harms, and profit to Meta, all to the detriment of

users’ wellbeing.

        92.     It is reasonable for parents to expect that social media products that actively

promote their platforms to minors will undertake reasonable efforts to notify parents when their

child’s use becomes excessive, occurs during sleep time, or exposes the child to harmful content.

Defendants could feasibly design the products to identify minor users who are using the product

excessively, using it during sleeping hours, or being exposed to harmful content, and notify their

parents, at negligible cost.

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       93.     Engagement-based ranking and intermittent variable rewards are highly addictive,

promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of

viewing content that is innately harmful or in a manner that is harmful, and present a false reality.

Image and video filters inflict unrealistic and biased beauty standards upon users and cause

harmful social comparison based on a misleading curation of peers’ appearances, especially among

teenage female users.

       94.     The collaboration of these features multiplies the platforms’ power to inflict harm

by heightening the platform’s addictive nature, increasing exposure to content that triggers

negative social comparison, exposing users to innately harmful content, increasing time of

exposure to harm, further encouraging bullying and promoting conflict, and multiplying harm in

other ways.

       95.     The features combine to create a user interface of endless, auto-playing, image and

video content, that is algorithmically sorted to place the most attention-grabbing content at the top

and/or in a distilled feed that is very difficult to cease consuming, especially for young users.

Content that is promoted by the algorithm is often related to beauty, success/wealth flaunting, or

lifestyles, which causes negative physical or social comparison, especially among teens. Meta’s

algorithms also promote controversial, disturbing, negative, and/or emotionally charged content

causing harm to users.

       96.     The combined result of these features is to present to users a false reality—it

presents to users a world which is constantly controversial and negative; where most other people

are exceedingly more attractive than the user; where most other people are exceedingly more

successful and/or competent than the user; and which will facilitate and encourage harmful

behaviors such as self-harm and eating disorders.

       97.     These features take advantage of biological systems, human behavior, and

psychology, to addict and condition users to engage in repetitive content-consuming actions such

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as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,

the users’ input and behavior are tracked to allow the platform to automatically tune itself to each

individual user to become as addictive and difficult to stop engaging with as possible.

       98.     DEFENDANTS failed to design the product with adequate warnings about the

likely harms of use.

       99.     Plaintiff used Facebook and Instagram as intended or in reasonably foreseeable

ways. DEFENDANTS specifically intended for minors to use its products and were aware that

minors were doing so.

       100.    Plaintiff’s injuries—physical, emotional and economic—were reasonably

foreseeable to DEFENDANTS at the time of the products’ design, marketing, and operation.

       101.    Facebook and Instagram were defective and unreasonably dangerous when they left

DEFENDANTS’ sole possession/control and were offered to users. The defects continued to exist

through use by consumers, including Plaintiff, who used the products without any substantial

change in the products’ condition.

       102.    Plaintiff was injured as a direct and proximate result of Defendants placement of

the products into the stream of commerce, her use of the platforms as intended and designed, and

the platform’s defective design as described herein. The defective design of Facebook and

Instagram was the proximate cause of Plaintiff’s harms.

       103.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the social media induced injuries at an earlier

date to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.




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                            SECOND CAUSE OF ACTION
                      PRODUCTS LIABILITY - NEGLIGENT DESIGN

       104.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       105.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       106.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the

products and platforms that Plaintiff used.

       107.    Facebook and Instagram were designed and intended to be used as social media

platforms.

       108.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram was dangerous, harmful and injurious when used by Plaintiff in a

reasonably foreseeable manner, particularly so with minors and young adults.

       109.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

Facebook and Instagram. Facebook and Instagram are highly addictive and likely to cause mental

and physical injuries as listed above.

       110.    DEFENDANTS owed a duty to all reasonably foreseeable users to design a safe

product.

       111.    DEFENDANTS breached their duty by failing to use reasonable care in the design

of Facebook and Instagram because the products were addictive; had mental, cognitive, and

physical health impacts; and had a likelihood of causing social media addiction, depression, body


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dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other

harmful effects.

       112.    DEFENDANTS breached their duty by failing to use reasonable care in the design

of Facebook and Instagram by negligently designing the platforms with physically and mentally

harmful features including, but not limited to: (1) engagement-based ranking (sorting content on a

user’s feed based on engagement or “meaningful social interactions” rather than chronology); (2)

intermittent variable rewards (a system of “likes”, comments, strategically-timed notifications,

promoting the content of new users and users who have not posted in a while, among other

features); (3) face tracking and augmentation (i.e., photo and video filters designed to make users

appear more attractive); (4) endless scrollable content (especially auto-playing video content such

as the Instagram “Reels” content feed); (5) the interaction of these features; and (6) other features

of the platform which are currently unknown and hidden from users and governments.

       113.    Engagement-based ranking and intermittent variable rewards are highly addictive,

promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of

viewing content that is innately harmful or in a manner that is harmful, and present a false reality.

Image and video filters inflict unrealistic and biased beauty standards upon users and cause

harmful social comparison based on a misleading curation of peers’ appearances, especially among

teenage female users.

       114.    The collaboration of these features multiplies the platforms’ power to inflict harm

by heightening the platform’s addictive nature, increasing exposure to content that triggers

negative social comparison, exposing users to innately harmful content, increasing time of

exposure to harm, further encouraging bullying and promoting conflict, and multiplying harm in

other ways.

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       115.    The features combine to create a user interface of endless, auto-playing image and

video content, that is algorithmically sorted to place the most attention-grabbing content at the top

and/or in a distilled feed that is very difficult to cease consuming, especially for young users.

Content that is promoted by the algorithm is often related to beauty, success/wealth flaunting, or

lifestyles, which causes negative physical or social comparison, especially among teens. Meta’s

algorithms also promote controversial, disturbing, negative, and/or emotionally charged content

causing harm to users.

       116.    The combined result of these features is to present to users a false reality—it

presents to users a world which is constantly controversial and negative; where most other people

are exceedingly more attractive than the user; where most other people are exceedingly more

successful and/or competent than the user; and which will facilitate and encourage harmful

behaviors such as self-harm and eating disorders.

       117.    These features take advantage of biological systems, human behavior, and

psychology, to addict and condition users to engage in repetitive, content-consuming actions such

as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,

the users’ input and behavior are tracked to allow the platform to automatically tune itself to each

individual user to become as addictive and difficult to stop engaging with as possible.

       118.    Potential health harms from these features include, among other types of harm,

social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,

thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by

suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,

migraines, loss of vision, eye strain, among other harmful effects.

       119.     DEFENDANTS breached their duty by failing to use reasonable care in the design

of Facebook and Instagram by negligently designing Facebook and Instagram to specifically

appeal to minors, who were particularly unable to appreciate the risks posed by the platforms.

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       120.       DEFENDANTS breached their duty by failing to use reasonable care by failing to

use cost effective, reasonably feasible alternative designs that would make the product less

addictive and harmful to minors.

       121.       DEFENDANTS breached their duty by failing to use reasonable care by failing to

use cost effective, reasonably feasible alternative designs to minimize these harms, including but

not limited to:

                  a. Designing platforms that did not include the features listed above while still

                     fulfilling the social, interest, and business networking purposes of a social
                     media platform;

                  b. Default protective limits to length of use, frequency of use, or content types;

                  c. Opt-in restrictions to length of use, frequency of use, or content types;

                  d. session time limits;

                  e. Blocks to use during certain times of day (such as morning, during work or

                     school periods, or during evenings);

                  f. Session time notifications, warnings, or reports;

                  g. Warning of health effects of use and extended use upon sign-up;

                  h. Parental controls;

                  i. Self-limiting tools;

                  j. Implementing labels on images and videos that have been edited through the

                     platform;

                  k. Age-based content filtering;

                  l. General content filtering;

                  m. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                     feed of potentially harmful content (by causing negative social comparison

                     and misleading lack of realism) such as in the genres of lifestyle, influencer,
                     beauty, fitness, success flaunting, and/or heavily edited images and videos;



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               n. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                   feed of potentially harmful content such as inappropriate or salacious content;

               o. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                   feed of potentially harmful content such as controversial, political, or

                   emotionally weighted content;

               p. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                   feed of potentially harmful content such as content encouraging or promoting

                   eating disorders, depressive thinking, self-harm, or suicide;

               q. Informational labelling about the misleading and unrealistic nature of the

                   content on a user’s feed and the resulting feed composite because of content

                   editing and algorithmic presentation/sorting;

               r. Chronological presentation of content rather than algorithmic;

               s. Many other less harmful alternatives.
       122.     DEFENDANTS breached their duty by failing to use reasonable care by failing to

use cost effective, reasonably feasible alternative designs that could have reduced mental and

physical harms to users, especially youth. Instead, DEFENDANTS designed platforms that

aggressively addict users with algorithms and features that increase addictiveness, use time,

frequency of use, attention stealing, engagement with the platform, mental health harms, and profit

to Meta, all to the detriment of users’ wellbeing.

       123.     DEFENDANTS breached their duty by failing to use reasonable care by failing to

use cost-effective, reasonably feasible alternative designs utilizing technology to enable user-level

access restrictions so that use was tied to a user’s age verification, restricting those underaged from

using the platforms, or other youth-protecting features.

       124.    A reasonable company under the same or similar circumstances would have

designed a safer product.




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       125.    Plaintiff was harmed directly and proximately by the platforms DEFENDANTS’

failure to use reasonable care in the design of Facebook and Instagram. Such harm includes

attempted suicide, multiple periods of suicidal ideation, depression, anxiety, an eating disorder,

social media compulsion, and a reduced inclination or ability to sleep, among other harmful effects.

       126.    The design of Facebook and Instagram was a proximate cause of Plaintiff’s harms.

       127.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.

                           THIRD CAUSE OF ACTION
               PRODUCTS LIABILITY - NEGLIGENT FAILURE TO WARN

       128.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       129.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       130.    At all relevant times, the DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the

products and platforms that Plaintiff used.

       131.    The DEFENDANTS knew or, by the exercise of reasonable care, should have

known use of Facebook and Instagram was dangerous, harmful and injurious when used by

Plaintiff in a reasonably foreseeable manner, particularly with minors and young adults.

       132.    The DEFENDANTS knew or, by the exercise of reasonable care, should have

known ordinary consumers such as Plaintiff would not have realized the potential risks and dangers


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of Facebook and Instagram. Facebook and Instagram are highly addictive and likely to cause

mental and physical injuries as listed above.

       133.    The DEFENDANTS knew or, by the exercise of reasonable care, should have

known that Facebook and Instagram posed risks, including the risks of social media addiction,

depression, body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm,

insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating

disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision,

eye strain, among other harmful effects, as described herein, that were known and knowable in

light of scientific and medical knowledge that was generally accepted in the scientific community

at the time of development, dissemination, public release, and operation of the platforms.

       134.    The DEFENDANTS owed a duty to all reasonably foreseeable users to disclose the

risks associated with the use of Facebook and Instagram.

       135.    The DEFENDANTS breached their duty of care by failing to use reasonable care

in providing adequate warnings in the platforms’ sign-up warnings, and through marketing,

promoting and advertising of the platforms including that, according to its own research:

                      a. At least five-to-six percent of fourteen-year-olds admit to addiction to

                          the platform;
                      b. Sixty-six percent of teen girls and forty-six percent of teen boys have

                          experienced negative social comparisons on Instagram;

                      c. Facebook makes body-image issues worse for one-third of girls;

                      d. Thirteen-and-one-half percent of teen-girl Instagram users say the

                          platform makes thoughts of suicide and self-injury worse;

                      e. Seventeen percent of teen-girl Instagram users say the platform makes

                          eating issues worse;
                      f. Instagram users are twice as likely to develop an eating disorder as

                          those who don’t use social media.

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       136.   Facebook and Instagram are also defective for failing to warn users that:

              a. Engagement-based ranking and intermittent variable rewards are:

                     i.   highly addictive,

                   ii.    promote harmful social comparison,

                   iii.   promote negative, controversial, and/or emotionally activating content,

                   iv.    promote negative, harmful, and/or dangerous interest groups and/or

                          content creators,

                    v.    encourage bullying and conflict,

                   vi.    can trap users in a cycle of viewing content that is innately harmful or
                          in a manner that is harmful, such as content related to eating disorders,

                          depression, or self-harm, and

                  vii.    present a false reality (regarding one’s comparative status to their

                          peers, and/or the general state of world or political affairs);

              b. Face tracking and augmentation (image and video filters):

                     i.   inflict unrealistic and biased beauty standards upon users, and

                   ii.    cause harmful social comparison based on a misleading curation of

                          peers’ appearances and success, especially among teenage female

                          users;

              c. The platforms cause the mental and physical health harms as listed above;

              d. The likelihood of these harms and likely severity for these harms are even

                  greater for the developing brains of minors;

              e. The likelihood and intensity of these harmful effects are exacerbated by the

                  collaboration of these features; and

              f. The likelihood and intensity of these harmful effects are increased by other

                  features and innerworkings of the platforms which are currently publicly

                 unknown and hidden from users and governments.
       137.   The failure of DEFENDANTS to adequately warn about its defective products, and

its efforts to misleadingly advertise through conventional and social media avenues, created a

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danger of injuries described herein that were reasonably foreseeable at the time of design,

development, coding, operation, and dissemination of the platforms.

        138.    Through their incredible power as the premier social media company (and/or

association with that company), DEFENDANTS have silenced and suppressed information,

research efforts, and public awareness efforts regarding the harmful heath impact of their

platforms.

        139.    Rather than warning users of likely harms, DEFENDANTS regularly fine-tune the

platforms to aggressively socially and psychologically engineer new and ongoing users to increase

addiction and exposure to their platforms, causing and increasing physical and psychological harm.

The platforms encourage users to recruit more users across their personal electronic contacts.

        140.    The failure of DEFENDANTS to adequately warn about its defective products—

and its efforts to misleadingly advertise through conventional, online, and peer-to-peer avenues—

created a danger of injuries described herein that were reasonably foreseeable at the time of design,

distribution, and operation of the platforms.

        141.    At all relevant times, DEFENDANTS could have provided adequate warnings and

instructions to prevent the harms and injuries set forth herein, such as providing full and accurate

information about the products in advertising, at point of dissemination/account registration, and

at various intervals of the user interface.

        142.    A reasonable company under the same or similar circumstances would have warned

and instructed of the dangers.

        143.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ failure to

warn and instruct because she would not have used Facebook and Instagram had she received

adequate warnings and instructions that the platforms could cause social media addiction,

depression, body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm,

insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating

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disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision,

eye strain, among other harmful effects.

       144.      Meta’s lack of adequate and sufficient warnings and instructions, and its inadequate

and misleading advertising, was a substantial contributing factor in causing the harm to Plaintiff.

       145.      Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                          FOURTH CAUSE OF ACTION
               PRODUCTS LIABILITY – NEGLIGENT MANUFACTURING

       146.      Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       147.      Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       148.      At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the

products and platforms that Plaintiff used.

       149.      The platforms DEFENDANTS had a duty to use exercise reasonable care, in the

development, coding, operation, maintained, inspecting, testing, and dissemination of Facebook

and Instagram.

       150.      DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram carelessly developed, coded, operated, maintained, inspected,



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tested, and disseminated was dangerous, harmful and injurious when used by Plaintiff in a

reasonably foreseeable manner.

       151.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

Facebook and Instagram improperly developed, coded, operated, maintained, inspected, tested,

and disseminated.

       152.    Without limitation, examples of DEFENDANTS’ breaching their duty to exercise

reasonable care in development, management, maintenance, testing, and inspecting include:


               a. Failure to follow Good Manufacturing Practices (“GMPs”);

               b. Failure to inspect and test the computer programming underlying the platforms
                  and features for errors, unintended output, or unintended executed results of a
                  nature that could cause users harm;

               c. Failure to adequately inspect/test Facebook and Instagram during the
                  development process;

               d. Failure to test the mental and physical health impacts of their platforms and
                  product features, especially in regards to minors;

               e. Failure to implement procedures that would measure and confirm the
                  behavioral and mental health impact of the platforms;

               f. Failure to timely establish procedures or practices to prevent Facebook and
                  Instagram from having unintended mental and physical health consequences.

               g. Failure to test and research the actual user health impact cause by the interaction
                  of the algorithm and other harm causing features listed above;

               h. Failure to test the platforms’ output to users given various user inputs;

               i. Failure to adequately test the user health result of specific computer coding and
                  programs that constitute the platforms and their features.

       153.    A reasonable manufacturer under the same or similar circumstances would have

implemented appropriate manufacturing procedures to better ensure the quality of their product.

       154.    Plaintiff was injured as a direct and proximate result of the platforms

DEFENDANTS failure to use reasonable care in the development, coding, operation, maintenance,

inspection, testing, and dissemination.

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       155.    DEFENDANTS          negligent    development,    coding,    operation, maintenance,

inspection, testing, and dissemination of Facebook and Instagram was a substantial factor in

causing Plaintiff’s harms.

       156.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                             FIFTH CAUSE OF ACTION
                      NEGLIGENCE AND/OR GROSS NEGLIGENCE

       157.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       158.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       159.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       160.    Facebook and Instagram were the types of products that could endanger others if

negligently made or promoted.

       161.    DEFENDANTS had a duty of reasonable care in designing, manufacturing, coding,

inspecting, testing, marketing, advertising, promoting, supplying, disseminating and/or making

publicly available the platforms to avoid causing harm to those that used Facebook and Instagram.



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       162.    DEFENDANTS knew, or should have known by the exercise of reasonable care,

the risks to users of the platforms, of mental and physical health harms.

       163.    DEFENDANTS knew, or should have known by the exercise of reasonable care,

that minors and young people would be attracted to these products.

       164.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram was dangerous, harmful and injurious when used by Plaintiff in a

reasonably foreseeable manner, particularly with minors and young adults.

       165.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

Facebook and Instagram. Facebook and Instagram are highly addictive and likely to cause mental

and physical injuries as listed above.

       166.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

that Facebook and Instagram posed risks including the risks of social media addiction, depression,

body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating

disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of

focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among

other harmful effects, as described herein, that were known and knowable in light of scientific and

medical knowledge that was generally accepted in the scientific community at the time of

development, dissemination, public release, and operation of the platforms.

       167.    DEFENDANTS knew or should have known that Facebook and Instagram needed

to be researched, designed, manufactured, coded, programmed, assembled, inspected, tested,

marketed, advertised, promoted, operated, managed, maintained, supplied, disseminated, and/or

made available properly, without defects and with due care to avoid needlessly causing harm.

       168.    DEFENDANTS knew or should have known that Facebook and Instagram would

cause harm to users if the following features, among others, were included: (1) engagement-based

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ranking (sorting content on a user’s feed based on engagement or “meaningful social interactions”

rather than chronology); (2) intermittent variable rewards (a system of “likes”, comments,

strategically-timed notifications, promoting the content of new users and users who have not

posted in a while, among other features); (3) face tracking and augmentation (i.e., photo and video

filters designed to make users appear more attractive); (4) endless scrollable content (especially

auto-playing video content such as the Instagram “Reels” content feed); (5) the interaction of these

features; and (6) other features of the platform which are currently unknown and hidden from users

and governments.

       169.    DEFENDANTS knew or should have known that engagement-based ranking and

intermittent variable rewards are highly addictive, promote harmful social comparison, encourage

bullying and conflict, can trap users in a cycle of viewing content that is innately harmful or in a

manner that is harmful, and present a false reality. Image and video filters inflict unrealistic and

biased beauty standards upon users and cause harmful social comparison based on a misleading

curation of peers’ appearances, especially among teenage female users.

       170.    DEFENDANTS knew or should have known that the collaboration of these features

multiplies the platforms’ power to inflict harm by heightening the platform’s addictive nature,

increasing exposure to content that triggers negative social comparison, exposing users to innately

harmful content, increasing time of exposure to harm, further encouraging bullying and promoting

conflict, and multiplying harm in other ways.

       171.    DEFENDANTS knew or should have known that the features combine to create a

user interface of endless, auto-playing, image and video content, that is algorithmically sorted to

place the most attention-grabbing content at the top and/or in a distilled feed that is very difficult

to cease consuming, especially for young users. Content that is promoted by the algorithm is often

related to beauty, success/wealth flaunting, or lifestyles, which causes negative physical or social



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comparison, especially among teens. Meta’s algorithms also promote controversial, disturbing,

negative, and/or emotionally charged content causing harm to users.

       172.    DEFENDANTS knew or should have known that the combined result of these

features is to present to users a false reality—it presents to users a world which is constantly

controversial and negative; where most other people are exceedingly more attractive than the user;

where most other people are exceedingly more successful and/or competent than the user; and

which will facilitate and encourage harmful behaviors such as self-harm and eating disorders.

       173.    DEFENDANTS knew or should have known that these features take advantage of

biological systems, human behavior, and psychology, to addict and condition users to engage in

repetitive content-consuming actions such as scrolling, “liking,” and sharing content in search of

repeated dopamine releases. All the while, the users’ input and behavior are tracked to allow the

platform to automatically tune itself to each individual user to become as addictive and difficult to

stop engaging with as possible.

       174.    DEFENDANTS knew or should have known that Facebook and Instagram could

cause serious risk of harm, particularly to young persons and minors.

       175.    DEFENDANTS were negligent, reckless and careless and failed to take the care

and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm.

       176.    The negligence and extreme carelessness of DEFENDANTS includes, but is not

limited to, the following:


               a. Failure to perform adequate testing of the Facebook and Instagram prior to
                  marketing to ensure safety, including long-term testing of the product, and
                  testing for physical and mental health injuries;

               b. Failure to warn consumers that Facebook and Instagram had not been
                  adequately tested or researched prior to marketing to ensure safety;

               c. Failure to take reasonable care in the design of Facebook and Instagram;
               d. Failure to use reasonable care in the production/development of Facebook and
                  Instagram;

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            e. Failure to use reasonable care in the operation of Facebook and Instagram;

            f. Failure to use reasonable care in the coding/assembly of Facebook and
               Instagram;

            g. Failure to use reasonable care in advertising, promoting, and marketing
               Facebook and Instagram;

            h. Failure to use reasonable care in the dissemination of Facebook and Instagram
               without adequate warnings;

            i. Use of a design that includes features that cause mental and physical harm,
               including, but not limited to: (1) engagement-based ranking (sorting content on
               a user’s feed based on engagement or “meaningful social interactions” rather
               than chronology); (2) intermittent variable rewards (a system of “likes,”
               comments, strategically-timed notifications, promoting the content of new users
               and users who have not posted in a while, among other features); (3) face
               tracking and augmentation (i.e., photo and video filters designed to make users
               appear more attractive); (4) endless scrollable content (especially auto-playing
               video content such as the Instagram “Reels” content feed); (5) the interaction
               of these features; and (6) other features of the platform which are currently
               unknown and hidden from users and governments;

            j. Use of a design, engagement-based ranking and intermittent variable rewards
               that DEFENDANTS knew or should have known that are highly addictive,
               promote harmful social comparison, encourage bullying and conflict, can trap
               users in a cycle of viewing content that is innately harmful or in a manner that
               is harmful, and present a false reality. Image and video filters inflict unrealistic
               and biased beauty standards upon users and cause harmful social comparison
               based on a misleading curation of peers’ appearances, especially among teenage
               female users;

            k. Use of design features that DEFENDANTS knew or should have known would
               interact to multiply the platforms’ power to inflict harm by heightening the
               platform’s addictive nature, increasing exposure to content that triggers
               negative social comparison, exposing users to innately harmful content,
               increasing time of exposure to harm, further encouraging bullying and
               promoting conflict, and multiplying harm in other ways;

            l. Use of design features that DEFENDANTS knew or should have known would
               combine to create a user interface of endless, auto-playing, image and video
               content, that is algorithmically sorted to place the most attention-grabbing
               content at the top and/or in a distilled feed that is very difficult to cease
               consuming, especially for young users. Content that is promoted by the
               algorithm is often related to beauty, success/wealth flaunting, or lifestyles,
               which causes negative physical or social comparison, especially among teens.
               Meta’s algorithms also promote controversial, disturbing, negative, and/or
               emotionally charged content causing harm to users;

            m. Use of design features that DEFENDANTS knew or should have known would
               result in presenting to users a false reality—it presents to users a world which
               is constantly controversial and negative; most other people are exceedingly
               more attractive than the user, and most other people are more successful and/or
               competent than the user;

            n. Failure to inspect Facebook and Instagram for them to operate properly and
               avoid addiction, overuse, or mental health harms;
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               o. Failure to reasonably and properly test and properly analyze the testing of
                  Facebook and Instagram under reasonably foreseeable circumstances;

               p. Failure to warn consumers about the dangers associated with use of Facebook
                  and Instagram, in that it was unsafe, causes social media addiction, depression,
                  body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm,
                  insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide,
                  death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue,
                  headaches, migraines, loss of vision, eye strain, among other harmful effects;

               q. Failure to subsequently remedy harm-causing features of the platforms after
                  Meta had actual knowledge of harm to users;

               r. Failure to provide any instructions regarding a safe manner, frequency, and
                  length of use of the platforms per day;

               s. Failure of DEFENDANTS to verify the age of consumers creating accounts and
                  using Facebook and Instagram;
               t. Failure to recall Facebook and Instagram;

               u. All other failures, acts and omissions set forth herein.


       177.    DEFENDANTS’ acts and omissions constitute gross negligence, because they

constitute a total lack of care and an extreme departure from what a reasonably careful company

would do in the same situation to prevent foreseeable harm to Plaintiff.

       178.    DEFENDANTS acted and/or failed to act willfully, and with conscious and

reckless disregard for the rights and interests of Plaintiff, and their acts and omissions had a great

probability of causing significant harm and in fact resulted in such harm to Plaintiff.

       179.    Based on their strategic and intentional promotion, advertising and marketing

history, DEFENDANTS reasonably should have foreseen that young people would try Facebook

and Instagram and quickly become addicted to Facebook and Instagram, resulting in teenagers and

young adults developing lifelong addictions. After fine-tuning the product to addict users using

features that also result in serious mental health and physical harms, DEFENDANTS reasonably

should have foreseen the emotional distress this would cause on the individuals who would get

addicted, as well the stress this would place on their loved ones around them.




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       180.    Defendants intentionally created an attractive nuisance to children, but

simultaneously failed to provide adequate warnings or safeguards from the harmful effects they

knew were occurring.

       181.    Plaintiff was injured as a direct and proximate result of negligence and/or gross

negligence as described herein. Such harm includes attempted suicide, multiple periods of suicidal

ideation, depression, anxiety, an eating disorder, social media compulsion, and a reduced

inclination or ability to sleep, which may cause or contribute to additional disease.

       182.    DEFENDANTS’ negligence and/or gross negligence were a substantial factor in

causing and or contributing to Plaintiff’s harms.

       183.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                               SIXTH CAUSE OF ACTION
                            NEGLIGENT MISREPRESENTATION

       184.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       185.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       186.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

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       187.    DEFENDANTS were negligent, reckless and careless and owed a duty to Plaintiff

to make accurate and truthful representations regarding Facebook and Instagram, DEFENDANTS

breached their duty, thereby causing Plaintiff to suffer harm.

       188.    DEFENDANTS represented to Plaintiff—via the media, advertising, website,

social media, and promotions, among other misrepresentations described herein—that:


               a. Facebook and Instagram were safe and were not harmful;

               b. Long-term, frequent, prolonged use was harmless;

               c. Facebook and Instagram increased social connectivity, rather than causing
                  feelings of isolation; and

               d. An inaccurate and misleading portrayal of the platforms mental and physical
                  health impact;

       189.    DEFENDANTS omitted/failed to ever inform Plaintiff and other consumers, by

any media, that, according to its own research:


               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                  platform;

               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                  experienced negative social comparisons on Instagram;

               c. Facebook makes body-image issues worse for one-third of girls;

               d. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                  makes thoughts of suicide and self-injury worse;

               e. Seventeen percent of teen-girl Instagram users say the platform makes eating
                  issues worse; and

               f. Instagram users are twice as likely to develop an eating disorder as those who
                  don’t use social media.

       190.    Meta also omitted to inform users that, as it knew or should have known:

               a. Engagement-based ranking and intermittent variable rewards are
                     i.   highly addictive,

                    ii.   promote harmful social comparison,

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                    iii.   promote negative, controversial, and/or emotionally activating content,

                    iv.    promote negative, harmful, and/or dangerous interest groups and/or

                           content creators,

                     v.    encourage bullying and conflict,

                    vi.    can trap users in a cycle of viewing content that is innately harmful or

                           in a manner that is harmful, such as content related to eating disorders,

                           depression, or self-harm, and

                   vii.    present a false reality (regarding one’s comparative status to their

                           peers, and/or the general state of world or political affairs);

               b. Face tracking and augmentation (image and video filters):

                      i.   inflict unrealistic and biased beauty standards upon users, and

                    ii.    cause harmful social comparison based on a misleading curation of

                           peers’ appearances and success, especially among teenage female

                           users;

               c. The platforms cause the mental and physical health harms as listed above;

               d. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of minors;

               e. The likelihood and intensity of these harmful effects are exacerbated by the

                   interaction of these features; and
               f. The likelihood and intensity of these harmful effects are increased by other

                   features and innerworkings of the platforms which are currently publicly

                  unknown and hidden from users and governments.
       191.    These representations were false and omissions were material. The platforms are

unsafe and were known by Meta to cause mental and physical health harms, especially in youth,

such as social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,

thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by

suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,

migraines, loss of vision, eye strain, among other harmful effects.
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       192.    DEFENDANTS knew or should have known these representations were false and

negligently made them without regard for their truth.

       193.    Through DEFENDANTS’ incredible power as the premier social media company

(and/or association with that company), they have silenced and suppressed information, research

efforts, and public awareness efforts regarding the harmful heath impact of their platforms.

       194.    DEFENDANTS had a duty to accurately provide this information to Plaintiff. In

concealing this information from Plaintiff, DEFENDANTS breached their duty. DEFENDANTS

also gained financially from this concealment, and because of their breach.

       195.    DEFENDANTS intended for Plaintiff to rely on these representations.

       196.    Each of these misrepresentations were material at the time they were made. Each

of the misrepresentations concerned material facts that were essential to the analysis undertaken

by Plaintiff as to whether to sign up for or use Facebook and Instagram.

       197.    DEFENDANTS have yet to disclose or correct these misrepresentations about

Facebook and Instagram.

       198.    Plaintiff reasonably relied on these representations and were harmed as described

herein. Plaintiff’s reliance on DEFENDANTS’ representation was a substantial factor in causing

Plaintiff’s harms. Had DEFENDANTS told Plaintiff the truth about the safety and algorithmic

framework of the platforms, Plaintiff would not have registered with them or used them.

       199.    DEFENDANTS’ acts and omissions as described herein were committed in

reckless disregard of Plaintiff’s rights, interests, and well-being to enrich DEFENDANTS.

       200.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ negligent

misrepresentations regarding Facebook and Instagram as described herein. Such harm includes

attempted suicide, multiple periods of suicidal ideation, depression, anxiety, an eating disorder,

social media compulsion, and a reduced inclination or ability to sleep, among other harms.



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       201.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                                SEVENTH CAUSE OF ACTION
                                         FRAUD

       202.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       203.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       204.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       205.    DEFENDANTS’ marketing, promotions and advertisements contained deceptive

and/or misleading statements, implications, images, and portrayals that the platforms were safe,

improved social connectivity, and improved the mental and physical health of its users. For

example, Meta’s investor relations page states that “Facebook's mission is to give people the power

to build community and bring the world closer together. People use Facebook to stay connected

with friends and family, to discover what's going on in the world, and to share and express what




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matters to them.”10 In actuality, Facebook and Instagram pose a serious risk to users’ mental and

physical health, which Meta has long known.

         206.   DEFENDANTS’ marketing, promotions and advertisements failed to disclose that

the platforms, by contrast, were likely to cause social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other

harms.

         207.   The omissions were misleading and deceptive standing alone and were particularly

deceptive in light of Meta’s marketing, promotions and advertising of Facebook and Instagram as

positive for users mental and physical health.

         208.   DEFENDANTS represented to Plaintiff—via the media, internet, advertising, its

website, the platforms themselves, other social media, and promotions—that:


                a. Facebook and Instagram were safe and were not harmful;

                b. Facebook and Instagram were positive and beneficial to a users’ wellbeing,
                   improved social connectivity, and improved the mental and physical health of
                   its users;

                c. Long-term, frequent, prolonged use was harmless;

                d. Facebook and Instagram increased social connectivity, rather than causing
                   feelings of isolation;

                e. An inaccurate and misleading portrayal of the platforms mental and physical
                   health impact; and

                f. Other misrepresentations described herein.

         209.   DEFENDANTS omitted/failed to ever inform Plaintiff and other consumers, by

any media, that, according to its own research:


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 https://investor.fb.com/resources/default.aspx#:~:text=Facebook%20Investor%20Relations%3F-
 ,What%20is%20Facebook's%20mission%20statement%3F,express%20what%20matters%20to%20them.
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             g. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                platform;

             h. Sixty-six percent of teen girls and forty-six percent of teen boys have
                experienced negative social comparisons on Instagram;

             i. Facebook makes body-image issues worse for one-third of girls;

             j. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                makes thoughts of suicide and self-injury worse;

             k. Seventeen percent of teen-girl Instagram users say the platform makes eating
                issues worse; and

             l. Instagram users are twice as likely to develop an eating disorder as those who
                don’t use social media.

      210.   Meta also omitted/failed to inform users that, as it knew or should have known:

             m. Engagement-based ranking and intermittent variable rewards are:

                   i.   highly addictive,

                  ii.   promote harmful social comparison,

                 iii.   promote negative, controversial, and/or emotionally activating content,

                 iv.    promote negative, harmful, and/or dangerous interest groups and/or

                        content creators,

                  v.    encourage bullying and conflict,

                 vi.    can trap users in a cycle of viewing content that is innately harmful or

                        in a manner that is harmful, such as content related to eating disorders,
                        depression, or self-harm, and

                 vii.   present a false reality (regarding one’s comparative status to their

                        peers, and/or the general state of world or political affairs);

             n. Face tracking and augmentation (image and video filters):

                   i.   inflict unrealistic and biased beauty standards upon users, and

                  ii.   cause harmful social comparison based on a misleading curation of

                        peers’ appearances and success, especially among teenage female
                        users;

             o. The platforms cause the mental and physical health harms as listed above;
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               p. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of minors; and

               q. The likelihood and intensity of these harmful effects are exacerbated by the

                  collaboration of these features.
       211.    These representations were false and material. These omissions also communicated

falsehoods and were material. The platforms are unsafe and were known by Meta to cause mental

and physical health harms, especially in youth, such as social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other

harmful effects.

       212.    The above representations were communicated to Plaintiff.

       213.    Through their incredible power as the premier social media company (and/or

association with that company), DEFENDANTS have silenced and suppressed information,

research efforts, and public awareness efforts regarding the harmful heath impact of their

platforms.

       214.    DEFENDANTS’ conduct            was   fraudulent   and deceptive because their

misrepresentations and omissions had the capacity to, were likely to, and, in fact, did deceive

reasonable consumers including the Plaintiff. Reasonable consumers, including the Plaintiff,

would have found it material to their purchasing decisions that the platforms’ products posed

unreasonable risks of substantial mental and bodily injury, including addiction resulting from the

use of the products. Knowledge of these facts would have been a substantial factor in Plaintiff’s

decisions to purchase and consume Facebook and Instagram.

       215.    DEFENDANTS owed Plaintiff a duty to disclose these facts because they were

known and/or accessible exclusively to DEFENDANTS, who have had exclusive and superior


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knowledge of the facts; because the facts would be material to reasonable consumers; because the

platforms pose an unreasonable risk of substantial mental and bodily injury; and because the

platforms made partial representations concerning the same subject matter as the omitted facts.

       216.    Plaintiff reasonably and justifiably relied on the misrepresentations and/or

omissions. Reasonable consumers would have been expected to have relied on the platforms’

misrepresentations and omissions.

       217.    DEFENDANTS knew or should have known that its misrepresentations and/or

omissions were false and misleading, and intended for consumers to rely on such

misrepresentations and omissions.

       218.    DEFENDANTS’ misrepresentations and/or omissions were a substantial factor in

causing Plaintiff’s harms. Plaintiff was injured as a direct and proximate result of DEFENDANTS’

fraudulent conduct as described herein.

       219.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                                EIGHTH CAUSE OF ACTION
                               FRAUDULENT CONCEALMENT

       220.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       221.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.



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        222.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

        223.    DEFENDANTS had a duty to disclose material facts about Facebook and Instagram

to Plaintiff.

        224.    DEFENDANTS fraudulently and deceptively marketed Facebook and Instagram to

Plaintiff as safe, healthful, or not harmful, and beneficial to user mental health and social

connectedness when DEFENDANTS knew it to be untrue.

        225.    DEFENDANTS fraudulently and deceptively downplayed or minimized any risk

associated with its platforms and product features. DEFENDANTS and others worked together to

pitch news stories or other media content designed to downplay the risks of its platforms,

suggesting that any concern was overblown, or a panic. These tactics mimic those used by the

tobacco industry to sow seeds of doubt and confusion among the public, to initiate new users, to

keep customers using Facebook and Instagram, and to avoid regulation or legislative efforts to

control Meta.

        226.    Through their incredible power as the premier social media company (and/or

association with that company), DEFENDANTS have silenced and suppressed information,

research efforts, and public awareness efforts regarding the harmful heath impact of their

platforms.

        227.    DEFENDANTS fraudulently and deceptively concealed that Facebook and

Instagram can cause social media addiction, depression, body dysmorphia, anxiety, suicidal

ideation, self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia

nervosa, death by suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping,

fatigue, headaches, migraines, loss of vision, eye strain, among other harms.

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       228.    DEFENDANTS fraudulently and deceptively concealed they had not adequately

researched or tested the platforms and its features to assess its safety before offering it on the

market and promoting it to young people and adults.

       229.    DEFENDANTS fraudulently and deceptively concealed that the platforms were

powerfully addictive.

       230.    DEFENDANTS further failed to disclose to Plaintiff that the platforms are designed

to create and sustain an addiction. DEFENDANTS also manipulated the platforms algorithms and

features in ways that could and would impact their addictiveness and mental health impact, and

DEFENDANTS did so without notifying Plaintiff. DEFENDANTS actively concealed the

innerworkings of its platforms and their mental health impacts.

       231.    DEFENDANTS concealed from Plaintiff that, according to its own research:


               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                  platform;

               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                  experienced negative social comparisons on Instagram;

               c. Facebook makes body-image issues worse for one-third of girls;

               d. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                  makes thoughts of suicide and self-injury worse;

               e. Seventeen percent of teen-girl Instagram users say the platform makes eating
                  issues worse; and

               f. Instagram users are twice as likely to develop an eating disorder as those who
                  don’t use social media.

       232.    DEFENDANTS also concealed from Plaintiff that:

               a. Engagement-based ranking and intermittent variable rewards are:

                     i.   highly addictive,

                    ii.   promote harmful social comparison,
                   iii.   promote negative, controversial, and/or emotionally activating content,


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                    iv.    promote negative, harmful, and/or dangerous interest groups and/or

                           content creators,

                     v.    encourage bullying and conflict,

                    vi.    can trap users in a cycle of viewing content that is innately harmful or

                           in a manner that is harmful, such as content related to eating disorders,

                           depression, or self-harm, and

                    vii.   present a false reality (regarding one’s comparative status to their

                           peers, and/or the general state of world or political affairs);

                b. Face tracking and augmentation (image and video filters):

                      i.   inflict unrealistic and biased beauty standards upon users, and

                     ii.   cause harmful social comparison based on a misleading curation of

                           peers’ appearances and success, especially among teenage female

                           users;

                c. The platforms cause the mental and physical health harms as listed above;

                d. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of minors;

                e. The likelihood and intensity of these harmful effects are exacerbated by the

                   collaboration of these features; and

                f. The likelihood and intensity of these harmful effects are increased by other
                   features and innerworkings of the platforms which are currently publicly

                   unknown and hidden from users and governments.
         233.   Each of these misrepresentations and omissions were material at the time they were

made. Each of the misrepresentations and omissions concerned material facts that were essential

to the analysis undertaken by Plaintiff as to whether to register or use the platforms.

         234.   Plaintiff did not know of the facts that DEFENDANTS concealed.

         235.   DEFENDANTS intended to deceive Plaintiff and the public by concealing these

facts.


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       236.    DEFENDANTS had a duty to accurately provide this information to Plaintiff. In

concealing this information from Plaintiff, DEFENDANTS breached their duty. DEFENDANTS

also gained financially from this concealment, and because of their breach.

       237.    DEFENDANTS had ample opportunities to disclose these facts to Plaintiff, through

advertising, on its websites, platforms, and on other social media. DEFENDANTS concealed

material information at all relevant times, through today. DEFENDANTS have yet to disclose the

truth about Facebook and Instagram.

       238.    Plaintiff relied to her detriment on DEFENDANTS’ fraudulent omissions. Had

Plaintiff been adequately informed of the material facts concealed from her regarding the safety of

the platforms, and not intentionally deceived by DEFENDANTS, she would not have signed up

for or used Facebook and Instagram.

       239.    DEFENDANTS’ fraudulent concealment was a substantial factor in Plaintiff’s

harms as described herein, including: attempted suicide, multiple periods of suicidal ideation,

depression, anxiety, an eating disorder, social media compulsion, and a reduced inclination or

ability to sleep, among other harmful effects, which may cause or contribute to additional disease.

       240.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ fraudulent

conduct as described herein.

       241.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                                NINTH CAUSE OF ACTION
                             CONSPIRACY TO COMMIT FRAUD

       242.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

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        243.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff's

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

and conspiracy, statutes, and the common law of the State of Alabama.

        244.   DEFENDANTS entered into an agreement to advance their financial interests by

injuring Plaintiff. Specifically, DEFENDANTS worked in concert to maintain and maximize the

number of users addicted to Facebook and Instagram to ensure a steady and growing customer

base.

        245.   DEFENDANTS sought to accomplish this objective by: (1) designing a product

that was intended to addict its users to dopamine-triggering stimuli on its electronic platforms

(similar to electronic gambling platforms); (2) marketing, advertising, promoting and misbranding

that platform to consumers, including the vulnerable youth market; and (3) defrauding regulators

and the public to advance their interests.

        246.   Plaintiff’s addiction to the platforms was a primary object of the Conspiracy.

DEFENDANTS orchestrated efforts with a unity of purpose to addict this generation of teenagers

and young adults to its platforms by way of unlawful conduct in marketing, promoting,

manufacturing, designing, and disseminating Facebook and Instagram that substantially

contributed to the Plaintiff’s injuries as alleged herein.

        247.   DEFENDANTS further conspired with one another by setting out to entice and lure

new users of the platforms as a wrongful, unlawful, and tortious means to make a profit.

        248.   Plaintiff demands the applicable relief set forth in the Prayer for Relief below.

        249.   DEFENDANTS’ conspiracy involved:

               a. Developing social media platforms to be as addictive as possible, regardless of
                   mental and physical health impacts;



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               b. Suppressing internal and external efforts to research the harmful effects of

                   those platforms;

               c. Suppressing internal and external efforts to inform consumers of the harmful

                   effects of those platforms;

               d. Making knowingly false and misleading representations and omissions to

                   government organizations, personnel, legislators, and regulators, including at

                   congressional hearings; and

               e. Engaging in lobbying efforts and political donations to discourage office

                 holders from performing oversight of its platforms.
       250.    DEFENDANTS’ conduct violated state law and constituted a conspiracy to harm

Plaintiff. Plaintiff brings a cause of action for conspiracy to commit fraud under applicable state

statutory and common law.

       251.    DEFENDANTS’ conspiracy to commit fraud was a substantial factor in causing

Plaintiff’s harms. Plaintiff was injured, as described herein, as a direct and proximate result of

DEFENDANTS’ unlawful conspiracy as described herein.

       252.    Plaintiff demands judgment against Defendants for compensatory, treble, and

punitive damages, together with interest, costs of suit, attorneys' fees, and all such other relief as

the Court deems proper.


                                  TENTH CAUSE OF ACTION
                                   UNJUST ENRICHMENT


       253.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       254.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

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       255.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       256.    DEFENDANTS concealed from Plaintiff that, according to its own research:

               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                  platform;

               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                  experienced negative social comparisons on Instagram;

               c. Facebook makes body-image issues worse for one-third of girls;

               d. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                  makes thoughts of suicide and self-injury worse;

               e. Seventeen percent of teen-girl Instagram users say the platform makes eating
                  issues worse; and

               f. Instagram users are twice as likely to develop an eating disorder as those who
                  don’t use social media.

       257.    DEFENDANTS also concealed from Plaintiff that:

               g. Engagement-based ranking and intermittent variable rewards are:

                      i.   highly addictive,

                     ii.   promote harmful social comparison,

                    iii.   promote negative, controversial, and/or emotionally activating content,
                    iv.    promote negative, harmful, and/or dangerous interest groups and/or

                           content creators,

                     v.    encourage bullying and conflict,

                    vi.    can trap users in a cycle of viewing content that is innately harmful or

                           in a manner that is harmful, such as content related to eating disorders,

                           depression, or self-harm, and
                    vii.   present a false reality (regarding one’s comparative status to their

                           peers, and/or the general state of world or political affairs);

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                h. Face tracking and augmentation (image and video filters):

                       i.   inflict unrealistic and biased beauty standards upon users, and

                      ii.   cause harmful social comparison based on a misleading curation of

                            peers’ appearances and success, especially among teenage female

                            users;

                i. The platforms cause the mental and physical health harms as listed above;

                j. The likelihood of these harms and likely severity for these harms are even

                    greater for the developing brains of minors;

                k. The likelihood and intensity of these harmful effects are exacerbated by the

                    interaction of these features; and

                l. The likelihood and intensity of these harmful effects are increased by other

                    features and innerworkings of the platforms which are currently publicly

                  unknown and hidden from users and governments.
        258.    DEFENDANTS received a measurable benefit at the expense of Plaintiff in the

form of ad revenue and other revenue derived from consumers use of Facebook and Instagram.

        259.    DEFENDANTS appreciated, recognized, and chose to accept the monetary benefits

Plaintiff’s registration and use of the platforms conferred onto DEFENDANTS at the Plaintiff’s

detriment. These benefits were the expected result of DEFENDANTS acting in their pecuniary

interests at the expense of its users.

        260.    The harm causing features listed above were the same platform components that

increased Meta’s revenue—addiction and overuse of the platforms directly creates increased ad

revenue for the company. The benefit to Meta came directly at the expense of the Plaintiff’s time,

mental wellness, and physical health.

        261.    There is no justification for DEFENDANTS’ enrichment. It would be inequitable,

unconscionable, and unjust for DEFENDANTS to be permitted to retain these benefits because

the benefits were procured because of their wrongful conduct.


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       262.    DEFENDANTS wrongfully obfuscated the harm caused by their conduct. Thus,

Plaintiff, who mistakenly enriched DEFENDANTS by relying on DEFENDANTS’ fraudulent

representations, could not and did not know the effect that using Facebook and Instagram would

have on Plaintiff’s health.

       263.    Plaintiff is entitled to restitution of the benefits DEFENDANTS unjustly retained

and/or any amounts necessary to return Plaintiff to the position she occupied prior to dealing with

DEFENDANTS. Due to the sprawling, decades-long concern about the impacts of technology and

the internet on mental and physical health, and litigation commonly following injuries afflicted

using the internet, and other notice they have received because of lawsuits filed against them,

DEFENDANTS are reasonably notified that Plaintiff would expect compensation from

DEFENDANTS’ unjust enrichment stemming from their wrongful actions.

       264.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                               ELEVENTH CAUSE OF ACTION
                              BREACH OF EXPRESS WARRANTY

       265.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       266.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       267.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

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and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       268.    DEFENDANTS violated state law for breach of express warranties and Plaintiff

herein will bring a cause of action for breach of express warranty under applicable State common

law.

       269.    Upon information and belief, DEFENDANTS expressly warranted through public

statements, press releases, advertisements, marketing materials, sign-up notices, clickwrap (and/or

browsewrap or scrollwrap), and descriptions that the platforms Facebook and Instagram were safe

for their intended use and that they were safe for youth to use.

       270.    Upon information and belief, DEFENDANTS expressly warranted to consumers,

like Plaintiff, through written or electronic statements, descriptions, and affirmations of fact on its

websites, advertising, and marketing materials that Facebook and Instagram would improve users’

mental health, sense of community, and emotional connectedness with others.

       271.    These affirmations of fact became the basis of the bargain between DEFENDANTS

and Plaintiff, thereby creating express warranties that Facebook and Instagram would conform to

Meta’s affirmations of fact, representations, promises, and descriptions.

       272.    As described herein, the platforms actually use features that cause social media

addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-

harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by

eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of

vision, eye strain, among other harms, which may cause or contribute to additional disease.

       273.    These express communications contained misrepresentations and failed to warn of

the serious and known risks of Facebook and Instagram as alleged herein.




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       274.    When DEFENDANTS made these express warranties, they knew the intended

purposes of Facebook and Instagram and warranted the product to be, in all respects, safe and

proper for such purposes.

       275.    DEFENDANTS authored the documents and/or made the statements upon which

these warranty claims were based and, in doing so, defined the terms of those warranties. The

Facebook and Instagram platforms made available by DEFENDANTS did not conform to

DEFENDANTS’ promises, descriptions or affirmations and were not adequately designed,

developed, tested, promoted and/or fit for the ordinary purposes for which they were intended.

       276.    All of the aforementioned written or electronic materials are known to

DEFENDANTS and in their possession, and it is Plaintiff’s belief that these materials shall be

produced by DEFENDANTS and made part of the record once discovery is completed.

       277.    DEFENDANTS’ breach of these express warranties were a substantial factor in

causing Plaintiff’s harms.

       278.    As a direct and proximate result of DEFENDANTS’ breach of these warranties,

Plaintiff suffered serious injuries and/or sequelae thereto as alleged herein.

       279.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                        TWELFTH CAUSE OF ACTION
           BREACH OF AN IMPLIED WARRANTY OF MERCHANTABILITY

       280.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       281.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

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resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

          282.   At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

          283.   DEFENDANTS at all times were merchants with respect to the Facebook and

Instagram platforms provided to Plaintiff and were in the business of programming, developing,

disseminating, and operating such products.

          284.   Each platform Meta provided comes with an implied warranty that it will be

merchantable and fit for the ordinary purpose for which it would be used.

          285.   The ordinary intended purposes of the platforms—and the purpose for which they

are marketed, promoted, and made available—is to serve as safe social media platforms and allow

users to connect with friends, create new and palatable association with strangers, and groups

online.

          286.   The platforms are not fit for that use—or any other use—because they pose

significant risks of substantial mental and physical injury resulting from the use of the products.

When used as intended or reasonably foreseeable, Facebook and Instagram adversely impact,

worsen, or aggravate users’ mental health.

          287.   Due to these and other features, the platforms are not fit for their ordinary, intended

use and Facebook and Instagram are in fact defective and fail to conform to the platforms implied

warranties.

          288.   DEFENDANTS have unlawfully breached the platforms implied warranty of

merchantability because Facebook and Instagram were not in merchantable condition when made



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available, were defective when made available, and do not possess even the most basic degree of

fitness for ordinary use.

       289.    Despite having received notice of these defects, DEFENDANTS continue to

misrepresent the nature of its products and breach its implied warranties.

       290.    Plaintiff has had sufficient direct dealings with the platforms DEFENDANTS via

its website, apps, platforms, or through retailers acting as agents authorized to distribute Facebook

and Instagram (Apple/the “App Store”) to establish privity between the platforms.

       291.    Further, Plaintiff was a third-party beneficiary of the platforms’ agreements with

other entities for the distribution of Facebook and Instagram to consumers. Specifically, Plaintiff

is the intended beneficiary of the platforms’ implied warranties. The platforms’ products are

manufactured with the express purpose and intent of being made accessible to consumers.

       292.    Plaintiff would not have used Facebook and Instagram, or would not have

registered or used on the same terms, had she known the facts these Defendants failed to disclose.

       293.    DEFENDANTS’ breach of these warranties were a substantial factor in causing

Plaintiff’s harms.

       294.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ breach of

implied warranties of merchantability. Plaintiff has been harmed by DEFENDANTS’ failure to

deliver merchantable products in the form of addiction and other negative health consequences.

       295.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.




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                             THIRTEENTH CAUSE OF ACTION
                          FITNESS FOR A PARTICULAR PURPOSE

          296.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

          297.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

          298.   At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

          299.   DEFENDANTS violated state law for breach of implied warranties and Plaintiff

herein will bring a cause of action for breach of implied warranty of fitness for a particular purpose

under applicable State common law.

          300.   Plaintiff intended to use Facebook and Instagram as safe social media platforms

and to improve Plaintiff’s mental health, sense of community, and emotional connectedness with

others.

          301.   DEFENDANTS knew at that time of account registration, and/or had reason to

know, the particular purpose for which the products were required by Plaintiff, as evidenced by

DEFENDANTS’ written and/or electronic statements, descriptions, and affirmations of fact on its

websites, print or electronic advertising, marketing materials, sign-up notices, and clickwrap

(and/or browsewrap or scrollwrap) that Facebook and Instagram would improve users’ mental

health, sense of community, and emotional connectedness with others.




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       302.    DEFENDANTS knew at that time of account registration, and/or had reason to

know, that Plaintiff was relying on DEFENDANTS’ skill or judgment to select or furnish suitable

social media platforms.

       303.    DEFENDANTS did not effectively exclude or modify this implied warranty at any

point during users’ registration and interface with the platforms.

       304.    As described herein, DEFENDANTS breached this implied warranty because the

platforms use features that cause social media addiction, depression, body dysmorphia, anxiety,

suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia nervosa,

bulimia nervosa, death by suicide, death by eating disorder, lack of focus, ADHD, difficulty

sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other harms, which may

cause or contribute to additional disease.

       305.    DEFENDANTS knew the Plaintiff’s intended purposes for Facebook and

Instagram and impliedly warranted the product to be, in all respects, safe and proper for such

purposes.

       306.    DEFENDANTS authored the documents and/or made the statements upon which

these warranty claims were based and, in doing so, defined the terms of those warranties. The

Facebook and Instagram made available by DEFENDANTS did not conform to DEFENDANTS’

promises, descriptions or affirmations and were not adequately designed, developed, tested,

promoted and/or fit for the particular purposes for which they were intended.

       307.    All of the aforementioned written or electronic materials are known to

DEFENDANTS and in their possession, and it is Plaintiff’s belief that these materials shall be

produced by DEFENDANTS and made part of the record once discovery is completed.

       308.    DEFENDANTS’ breach of these implied warranties were a substantial factor in

causing Plaintiff’s harms.



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       309.    As a direct and proximate result of DEFENDANTS’ breach of these warranties,

Plaintiff suffered serious injuries and/or sequelae thereto as alleged herein.

       310.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                        FOURTEENTH CAUSE OF ACTION
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       311.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       312.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       313.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       314.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, the risks to consumers posed by the platforms and their features.

       315.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, that minors and young people would be attracted to these products.

       316.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram was harmful and had the potential to cause severe emotional



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distress when used by Plaintiff in a reasonably foreseeable manner, particularly with minors and

young adults.

       317.     DEFENDANTS knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

Facebook and Instagram. Facebook and Instagram are fine-tuned to addict users, and forcefully

cause physical and mental health harms.

       318.     DEFENDANTS knew or, by the exercise of reasonable care, should have known

that Facebook and Instagram posed risks including the risks of social media addiction, depression,

body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating

disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of

focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among

other harmful effects, as described herein, that were known and knowable in light of scientific and

medical knowledge that was generally accepted in the scientific community at the time of

development, dissemination, public release, and operation of the platforms.

       319.     DEFENDANTS knew or should have known that Facebook and Instagram needed

to be researched, designed, manufactured, coded, assembled, inspected, tested, marketed,

advertised, promoted, supplied, disseminated, and/or made available properly, without defects and

with due care to avoid needlessly causing harm.

       320.     DEFENDANTS knew or should have known that Facebook and Instagram could

cause serious harm, including severe emotional distress, particularly to young persons and minors.

       321.     DEFENDANTS knew or should have known that many of the youth who were

encouraged to use the platforms had preexisting mental health issues and/or eating disorders who

were at enhanced risk of harm by utilizing the misleadingly described platforms, which

misrepresented the mental health effects of the platforms and failed to warn of the products’

features’ impacts and risks.

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        322.    DEFENDANTS were negligent, reckless, and careless and failed to take the care

and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm, including severe emotional

distress.

        323.    DEFENDANTS’ acts and omissions were extreme and outrageous because they

constitute a total lack of care, recklessness, and an extreme departure from what a reasonably

careful company would do in the same situation to prevent foreseeable harm and severe emotional

distress to Plaintiff.

        324.    DEFENDANTS acted with conscious and reckless disregard for the rights and

interests of Plaintiff, and their acts and omissions were extreme and outrageous, had a great

probability of causing severe emotional distress, and in fact resulted in such harm to Plaintiff.

        325.    Based on their strategic and intentional promotion, advertising and marketing

history, DEFENDANTS reasonably should have foreseen that young people would try Facebook

and Instagram and quickly become addicted to Facebook and Instagram, resulting in teenagers and

young adults developing lifelong addictions. DEFENDANTS were aware of the risks their

platforms posed, as listed herein. After fine-tuning the platforms to be addictive, attention-

grabbing, and attention-holding, DEFENDANTS reasonably should have foreseen the emotional

distress, mental, and physical issues this would cause on the individuals who would get addicted,

as well the stress this would place on their loved ones around them. Particularly, DEFENDANTS

should have foreseen that young people would be particularly susceptible to experiencing severe

emotional distress.

        326.    Plaintiff was injured as a direct and proximate result of the reckless, extreme, and

outrageous conduct as described herein. Such harm includes attempted suicide, multiple periods

of suicidal ideation, depression, anxiety, an eating disorder, social media compulsion, and a

reduced inclination or ability to sleep, among other harmful effects, which may cause or contribute

to additional disease.

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       327.    DEFENDANTS’ conduct, as described above, was intentional, reckless, wanton,

malicious, fraudulent, oppressive, extreme, and outrageous, and displayed an entire lack of care

and a conscious and depraved indifference to the consequences of their conduct—including to the

health, safety, and welfare of their consumers—and warrants an award of punitive damages.

       328.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                         FIFTEENTH CAUSE OF ACTION
                 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS


       329.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       330.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       331.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       332.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, the risks to consumers posed by the platforms and their features.

       333.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, that minors and young people would be attracted to these products.



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       334.     DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram was harmful and had the potential to cause severe emotional

distress when used by Plaintiff in a reasonably foreseeable manner, particularly with minors and

young adults.

       335.     DEFENDANTS knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

Facebook and Instagram. Facebook and Instagram are fine-tuned to addict users, and forcefully

cause physical and mental health harms.

       336.     DEFENDANTS knew or, by the exercise of reasonable care, should have known

that Facebook and Instagram posed risks including the risks of social media addiction, depression,

body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating

disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of

focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among

other harmful effects, as described herein, that were known and knowable in light of scientific and

medical knowledge that was generally accepted in the scientific community at the time of

development, dissemination, public release, and operation of the platforms.

       337.     DEFENDANTS knew or should have known that Facebook and Instagram needed

to be researched, designed, manufactured, coded, assembled, inspected, tested, marketed,

advertised, promoted, supplied, disseminated, and/or made available properly, without defects and

with due care to avoid needlessly causing harm.

       338.     DEFENDANTS knew or should have known that Facebook and Instagram could

cause serious risk of harm, including severe emotional distress, particularly to young persons and

minors.

       339.     DEFENDANTS knew or should have known that many of the youth who were

encouraged to use the platforms had preexisting mental health issues and/or eating disorders who

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were at enhanced risk of harm by utilizing the misleadingly described platforms, which

misrepresented the mental health effects of the platforms and failed to warn of the products’

features’ impacts and risks.

        340.    DEFENDANTS were negligent, reckless, and careless and failed to take the care

and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm, including severe emotional

distress.

        341.    DEFENDANTS’ acts and omissions were extreme and outrageous because they

constitute a total lack of care, recklessness, and an extreme departure from what a reasonably

careful company would do in the same situation to prevent foreseeable harm and severe emotional

distress to Plaintiff.

        342.    DEFENDANTS acted with conscious and reckless disregard for the rights and

interests of Plaintiff, and their acts and omissions were extreme and outrageous had a great

probability of causing severe emotional distress and in fact resulted in such harm to Plaintiff.

        343.    Based on their strategic and intentional promotion, advertising and marketing

history, DEFENDANTS reasonably should have foreseen that young people would try Facebook

and Instagram and quickly become addicted to Facebook and Instagram, resulting in teenagers and

young adults developing lifelong addictions. DEFENDANTS were aware of the risks their

platforms posed, as listed herein. After fine-tuning the platforms to be addictive, attention-

grabbing, and attention-holding, DEFENDANTS reasonably should have foreseen the emotional

distress, mental, and physical issues this would cause on the individuals who would get addicted,

as well the stress this would place on their loved ones around them. Particularly, DEFENDANTS

should have foreseen that young people would be particularly susceptible to experiencing severe

emotional distress.

        344.    Plaintiff was injured as a direct and proximate result of the negligent, reckless,

extreme, and outrageous conduct as described herein. Such harm includes attempted suicide,

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multiple periods of suicidal ideation, depression, anxiety, an eating disorder, social media

compulsion, and a reduced inclination or ability to sleep, among other harmful effects, which may

cause or contribute to additional disease.

       345.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                          SIXTEENTH CAUSE OF ACTION
                     NEGLIGENT FAILURE TO RECALL/RETROFIT

       346.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       347.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       348.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       349.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, the risks to consumers posed by the platforms and their features.

       350.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, that minors and young people would be attracted to these products.

       351.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram was harmful and had the potential to cause social media addiction,

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depression, body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm,

insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating

disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision,

eye strain, among other harmful effects, which may cause or contribute to additional disease.

        352.    Defendants owed a duty to the users of the Facebook and Instagram, including

Plaintiff, to exercise reasonable care in conducting their business to properly and reasonably

design, research, develop, manufacture, produce, process, assemble, inspect, supply, distribute,

deliver, broker, market, warn, maintain, repair, modify, recall, retrofit, engineer, test, recommend,

advertise, and/or make available Facebook and Instagram.

        353.    Defendants also owed a continuing duty to Plaintiff to remove, recall, or retrofit the

unsafe and/or defective platforms across the United States (including in Plaintiff’s state).

        354.    As discussed, Defendants knew or reasonably should have known that the platforms

were dangerous and not safe for use (without added protective measures and/or removal of harm

causing features, if at all).

        355.    Defendants knew or, in the exercise of reasonable and ordinary care, should have

known that the platforms were defective and unsafe for Plaintiff, who is a person likely to use the

platforms for the purpose and in the manner for which the platforms were intended to be used and

for purposes reasonably foreseeable to Defendants.

        356.    However, at all times, Defendants negligently breached said duties and

unreasonably and negligently allowed the platforms to be used by Plaintiff without proper recall

or retrofit or warning.

        357.    Defendants have also not made any reasonable effort to remove and/or retrofit the

serious safety risk posed by the platforms to consumers.

        358.    In failing to properly recall and/or retrofit Facebook and Instagram, or even warn

of the serious safety risks the platforms pose to consumers and the public, Defendants have failed

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to act as a reasonable manufacturer, designer, or distributer would under the same or similar

circumstances and failed to exercise reasonable care.

       359.    Plaintiff was injured as a direct and proximate result of the negligent conduct as

described herein. Such harm includes attempted suicide, multiple periods of suicidal ideation,

depression, anxiety, an eating disorder, social media compulsion, and a reduced inclination or

ability to sleep, among other harmful effects, which may cause or contribute to additional disease.

       360.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                            SEVENTEENTH CAUSE OF ACTION
                                MEDICAL MONITORING


       361.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       362.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident state, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       363.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       364.    Facebook and Instagram cause or exacerbate mental and physical health harms,

including, but not limited to, depression, anxiety, suicidal ideation, self-harm, thoughts of self-



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harm, and eating disorders, among other harmful effects, which may cause or contribute to

additional disease.

       365.    According to Meta’s internal research:


               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                  platform;

               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                  experienced negative social comparisons on Instagram;

               c. Facebook makes body-image issues worse for one-third of girls;

               d. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                  makes thoughts of suicide and self-injury worse;

               e. Seventeen percent of teen-girl Instagram users say the platform makes eating
                  issues worse;

               f. Instagram users are twice as likely to develop an eating disorder as those who
                  don’t use social media.

       366.    Facebook and Instagram cause harm by the following product effects:

               a. Engagement-based ranking and intermittent variable rewards are:

                        i.   highly addictive,

                       ii.   promote harmful social comparison,

                      iii.   promote negative, controversial, and/or emotionally activating content,

                      iv.    promote negative, harmful, and/or dangerous interest groups and/or

                             content creators,

                       v.    encourage bullying and conflict,

                      vi.    can trap users in a cycle of viewing content that is innately harmful or

                             in a manner that is harmful, such as content related to eating disorders,

                             depression, or self-harm, and

                      vii.   present a false reality (regarding one’s comparative status to their

                             peers, and/or the general state of world or political affairs);
               b. Face tracking and augmentation (image and video filters):

                        i.   inflict unrealistic and biased beauty standards upon users, and
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                     ii.   cause harmful social comparison based on a misleading curation of

                           peers’ appearances and success, especially among teenage female

                           users;

               c. The platforms cause the mental and physical health harms as listed above;

               d. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of minors;

               e. The likelihood and intensity of these harmful effects are exacerbated by the

                   interaction of these features; and

               f. The likelihood and intensity of these harmful effects are increased by other

                   features and innerworkings of the platforms which are currently publicly

                  unknown and hidden from users and governments.
       367.    Engagement-based ranking and intermittent variable rewards are highly addictive,

promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of

viewing content that is innately harmful or in a manner that is harmful, and present a false reality.

Image and video filters inflict unrealistic and biased beauty standards upon users and cause

harmful social comparison based on a misleading curation of peers’ appearances, especially among

teenage female users.

       368.    The collaboration of these features multiplies the platforms’ power to inflict harm

by heightening the platform’s addictive nature, increasing exposure to content that triggers

negative social comparison, exposing users to innately harmful content, increasing time of

exposure to harm, further encouraging bullying and promoting conflict, and multiplying harm in

other ways.

       369.    The features combine to create a user interface of endless, auto-playing, image and

video content, that is algorithmically sorted to place the most attention-grabbing content at the top

and/or in a distilled feed that is very difficult to cease consuming, especially for young users.

Content that is promoted by the algorithm is often related to beauty, success/wealth flaunting, or


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lifestyles, which causes negative physical or social comparison, especially among teens. Meta’s

algorithms also promote controversial, disturbing, negative, and/or emotionally charged content

causing harm to users.

       370.    The combined result of these features is to present to users a false reality—it

presents to users a world which is constantly controversial and negative; where most other people

are exceedingly more attractive than the user; where most other people are exceedingly more

successful and/or competent than the user; and which will facilitate and encourage harmful

behaviors such as self-harm and eating disorders.

       371.    These features take advantage of biological systems, human behavior, and

psychology, to addict and condition users to engage in repetitive content-consuming actions such

as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,

the users’ input and behavior are tracked to allow the platform to automatically tune itself to each

individual user to become as addictive and difficult to stop engaging with as possible.

       372.    Potential health harms from these features include, among other types of harm,

social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,

thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by

suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,

migraines, loss of vision, eye strain, among other harmful effects.

       373.    As a direct and proximate result of DEFENDANTS’ conduct, Plaintiff has

developed mental and physical health issues that will require life-long monitoring treatment.

       374.    As a direct and proximate result of DEFENDANTS’ conduct, Plaintiff has a

significantly increased risk of developing a serious latent disease and/or injury, suffering further

injury at an unknown date in the future. Such injuries include the development and/or exacerbation

of social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,

thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by

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suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,

migraines, loss of vision, eye strain, among other harmful effects.

        375.    Monitoring procedures exist that makes the early detection and prevention of the

above technology-related and/or induced diseases and mental health issues possible. Many of the

above physical and mental issues can lead to other physical and mental health injuries long-term

that can be detected and prevented by existing medical and psychological testing and treatment.

        376.    For example, eating disorders can cause hormone/growth problems, heart

problems, neurological problems, abnormal cell growth, and cancer. Anxiety can lead to social

impairment, relationships, suicide risk, more frequent hospitalizations, substances abuse

(prescribed and non-prescribed), unemployment, somatoform. Nearly all the other kinds of harms

listed above commonly lead to other health issues.

        377.    These procedures are different from that normally recommended in the absence of

the exposure. These monitoring procedures include non-routine surveillance studies, laboratory

testing, and physical examinations, and would be reasonably necessary according to contemporary

scientific principles.

        378.    Plaintiff has suffered physical, mental, and emotional harms. Anxiety, depression,

sleep deprivation, eating disorders (and many of the other harms listed above) are well-known to

cause long-lasting conditions, hidden conditions, and health problems that do not manifest fully

until much later in life. Existing medical research indicates that these issues can cause permanent

digestive tract injury, brain injury, cardiovascular disorders, and many other harms. The injuries

such products cause on the human body has already been inflicted in its users, such as Plaintiff,

but the full extent of the injury will not manifest until later in Plaintiff’s life. Thus, because of

DEFENDANTS’ conduct, it is reasonably necessary that Plaintiff be placed under periodic

screening and/or diagnostic testing beyond that normally recommended in the absence of the issues

Plaintiff has suffered due to use of these platforms.

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          379.    Plaintiff demand judgment against DEFENDANTS for medical monitoring

damages to diagnose the platforms induced injuries at an earlier date to allow for timely treatment

and prevention of exacerbation of injuries, together with interest, costs of suit, attorneys' fees, and

all such other relief as the Court deems proper.

          380.    Such other relief as the Court deems proper.

          VII.     TIMELINESS AND TOLLING OF STATUTES OF LIMITATIONS

          381.    Through the exercise of reasonable diligence, Plaintiff did not and could not have

discovered that Facebook and Instagram caused her injuries and/or sequelae thereto because, at

the time of these injuries and/or sequelae thereto, the cause was unknown to Plaintiff.

          382.    Plaintiff did not suspect and had no reason to suspect Facebook and Instagram

caused her injuries and/or sequelae thereto until less than the applicable limitations period prior to

the filing of this action.

          383.    In addition, DEFENDANTS’ fraudulent concealment has tolled the running of any

statute    of    limitations.   Through   their   affirmative    misrepresentations   and   omissions,

DEFENDANTS actively concealed from Plaintiff the risks associated with the defects of Facebook

and Instagram and that these products caused her injuries and/or sequelae thereto. Through their

ongoing affirmative misrepresentations and omissions, DEFENDANTS committed continual

tortious, and fraudulent acts.

          384.    As a result of DEFENDANTS’ fraudulent concealment, Plaintiff was unaware and

could not have reasonably known or learned through reasonable diligence that she had been

exposed to the defects and risks alleged herein and that those defects and risks were the direct and

proximate result of DEFENDANTS’ acts and omissions.

                                VIII. DEMAND FOR A JURY TRIAL

          Plaintiff hereby demands a trial by jury.



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                                  IX.     PRAYER FOR RELIEF

        Plaintiff prays for judgment against DEFENDANTS to the full extent of the law, including

but not limited to:

        1.      Entering judgment for Plaintiff and against DEFENDANTS;

        2.      Entering an Order that Defendants are jointly and severally liable;

        3.      Damages to compensate Plaintiff for injuries sustained as a result of the use of the

platforms, including, but not limited to, physical pain and suffering, mental anguish, loss of

enjoyment of life, emotional distress, expenses for hospitalizations and medical treatments, other

economic harm that includes, but is not limited to, lost earnings and loss of earning capacity;
        4.      Awarding actual and compensatory damages;

        5.      Awarding statutory damages in the maximum amount permitted by law;

        6.      Awarding exemplary, treble, and/or punitive damages in an amount in excess of the

jurisdictional limits;

        7.      Awarding reasonable attorneys’ fees;

        8.      Awarding experts’ fees;

        9.      Awarding costs of litigation;

        10.     Awarding pre-judgment and post-judgment interest at the lawful rate;

        11.     A trial by jury on all issues of the case;

        12.     Awarding medical monitoring costs or programs; and

        13.     Any other relief as this court may deem equitable and just, or that may be available.




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                                           Respectfully Submitted,
 DATED: July 5, 2022

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